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                                                                   2018 Aug-15 PM 10:34
                                                                   U.S. DISTRICT COURT
                                                                       N.D. OF ALABAMA




                    Exhibit N
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Gordon Johnson                                                                                1 (1 - 4)
                                       Page 1                                                       Page 3
 1    IN THE UNITED STATES DISTRICT COURT           1   to any questions except as to form or
 2    FOR THE NORTHERN DISTRICT OF ALABAMA          2   leading questions and that counsel for
 3        SOUTHERN DIVISION                         3   the parties may make objections and
 4                                                  4   assign grounds at the time of trial or at
 5                                                  5   the time said deposition is offered in
 6                                                  6   evidence, or prior thereto.
 7   CIVIL ACTION NO.: 2:16-cv01443-AKK             7          In accordance with the Federal
 8                                                  8   Rules of Civil Procedure, I, Lane C.
 9   BLACK WARRIOR RIVERKEEPER, INC.,               9   Butler, am hereby delivering to Richard
10      Plaintiff,                                 10   E. Davis, Esq., the original transcript
11                                                 11   of the oral testimony taken the 21st day
12   v.                                            12   of June, 2018.
13                                                 13          Please be advised that this is
14 DRUMMOND COMPANY,                               14   the same and not retained by the Court
15    Defendant.                                   15   Reporter, nor filed with the Court.
16                                                 16
17                                                 17
18         DEPOSITION TESTIMONY OF:                18
19        GORDON JOHNSON, M.Sc., P.Eng.            19
20           June 21, 2018                         20
21                                                 21
22                                                 22
23                                                 23
                                          Page 2                                                    Page 4
 1         STIPULATIONS                             1        APPEARANCES
 2            IT IS STIPULATED AND AGREED           2
 3   by and between the parties through their       3   FOR THE PLAINTIFF:
 4   respective counsel that the deposition of      4
 5   GORDON JOHNSON may be taken before Lane        5   Barry A. Brock, Esq.
 6   C. Butler, a Court Reporter and Notary         6   Christina Andreen, Esq.
 7   Public for the State at Large, at the law      7   SOUTHERN ENVIRONMENTAL LAW CENTER
 8   offices of Starnes Davis Florie, 100           8   2829 Second Avenue South, Suite 282
 9   Brookwood Place, Seventh Floor,                9   Birmingham, Alabama 35233
10   Birmingham, Alabama, on the 21st day of       10   bbrock@selcal.org
11   June, 2018, commencing at approximately       11   candreen@selcal.org
12   9:00 a.m.                                     12
13            IT IS FURTHER STIPULATED             13   Eva L. Dillard, Esq.
14   AND AGREED that the signature to and the      14   BLACK WARRIOR RIVERKEEPER, INC.
15   reading of the deposition by the witness      15   710 37th Street South
16   is waived, the deposition to have the         16   Birmingham, Alabama 35222
17   same force and effect as if full              17   edillard@blackwarriorriver.org
18   compliance had been had with all laws and     18
19   rules of Court relating to the taking of      19
20   the depositions.                              20
21            IT IS FURTHER STIPULATED             21
22   AND AGREED that it shall not be necessary     22
23   for any objections to be made by counsel      23

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 1   FOR THE DEFENDANT:                                  1         I, Lane C. Butler, a Court
 2                                                       2   Reporter and Notary Public, State of
 3   Richard E. Davis, Esq.                              3   Alabama at Large, acting as Notary,
 4   STARNES DAVIS FLORIE                                4   certify that on this date, pursuant to
 5   100 Brookwood Place, Seventh Floor                  5   the Federal Rules of Civil Procedure and
 6   Birmingham, Alabama 35209                           6   the foregoing stipulation of counsel,
 7   red@starneslaw.com                                  7   there came before me at the law offices
 8                                                       8   of Starnes Davis Florie, 100 Brookwood
 9                                                       9   Place, Seventh Floor, Birmingham,
10                                                      10   Alabama, commencing at approximately 9:00
11                                                      11   a.m., on the 21st day of June, 2018,
12                                                      12   GORDON JOHNSON, M.Sc., P.Eng., witness in
13                                                      13   the above cause, for oral examination,
14                                                      14   whereupon the following proceedings were
15                                                      15   had:
16                                                      16
17                                                      17     GORDON JOHNSON, M.Sc., P.Eng.,
18                                                      18       being first duly sworn,
19                                                      19    was examined and testified as follows:
20                                                      20
21                                                      21       THE COURT REPORTER: Thank you.
22                                                      22       Usual stipulations?
23                                                      23       MR. BROCK: Sure. Yeah, we'll
                                               Page 6                                                  Page 8
 1            INDEX                                      1   read and sign.
 2                                                       2
 3   EXAMINATION BY:                  PAGE NO.           3   EXAMINATION BY MR. DAVIS:
 4   Mr. Davis                    8                      4     Q. Okay. Good morning, Mr.
 5                                                       5   Johnson.
 6                                                       6     A. Good morning.
 7                                                       7     Q. We've previously met. I'm
 8                                                       8   Richard Davis, and as you know, I
 9           EXHIBITS                                    9   represent the Drummond Company in the
10                                                      10   case here that's brought by Black Warrior
11   FOR THE DEFENDANT:                                 11   Riverkeeper.
12   1 - Deposition notice           12                 12        Have you previously given any
13   2 - Curriculum vitae            15                 13   depositions?
14   3 - Expert report, October 2017      53            14     A. No.
15   4 - Memorandum, 11/8/17             181            15     Q. Never?
16   5 - Rebuttal report, April 2018    191             16     A. No.
17                                                      17     Q. Okay.
18                                                      18     A. I've been involved in
19                                                      19   administrative hearings and in court
20                                                      20   cases.
21                                                      21     Q. Okay.
22                                                      22     A. But those never included
23                                                      23   depositions Simply testifying and
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 1   examination.                                   1   States?
 2      Q. All right. So you've given               2      A. I have not.
 3   testimony at trial?                            3      Q. Have you testified in any
 4      A. Correct.                                 4   trials, and by that I mean a litigated
 5      Q. And you have given testimony at          5   matter such as you're testifying in
 6   administrative hearings?                       6   today, in the United States?
 7      A. Correct.                                 7      A. I have not.
 8      Q. All right. Did any of those              8      Q. Okay. Since you haven't been
 9   trials or hearings have anything to do         9   deposed before, this is not really any
10   with coal mining?                             10   different than any other sworn testimony
11      A. Yes.                                    11   you have given. I will be asking you
12      Q. All right. And can you identify         12   some questions, you will be giving
13   which one or more did?                        13   answers, the court reporter will be
14      A. One of the hearings I was               14   taking those answers down. We both need
15   involved with was for an operation called     15   to make an effort to speak audibly and
16   Keephills.                                    16   clearly so she can type down what we're
17      Q. Okay.                                   17   saying. And as you may be aware, what
18      A. And so it was an expansion of a         18   the result of this will be will be a
19   power-generating facility. I was              19   typed transcript where the questions will
20   retained by a group of homeowners through     20   be preceded by the letter "Q," the
21   a lawyer who were affected by the             21   answers will be preceded by the letter
22   expansion of the mine.                        22   "A," and as we mark exhibits like we've
23      Q. Okay.                                   23   just done, those will be appended to the
                                         Page 10                                              Page 12
 1     A. And they had concerns about the           1   deposition. Okay.
 2   manner with which bottom ash and fly ash       2         If at any point you want to take
 3   was being managed.                             3   a break for any reason, just let me know,
 4     Q. Okay.                                     4   and I'll be happy to accommodate you.
 5     A. So that was the -- that was the           5   It's supposed to be an
 6   focus of my involvement.                       6   information-gathering endeavor. It is
 7     Q. All right. And were you                   7   not intended to be punitive or anything
 8   retained as an expert witness in that          8   else like that, so I want you to be
 9   case?                                          9   comfortable throughout the process.
10     A. Correct, yes.                            10   Okay?
11     Q. Okay. Was it a trial or an               11         All right. What you have in
12   administrative hearing?                       12   front of you has been marked Exhibit 1 to
13     A. It was a hearing. It's a                 13   your deposition. Have you seen that
14   regulatory process for large projects         14   document before?
15   that go to public hearing under the           15   (Defendant's Exhibit 1 was marked for
16   environmental acts in Alberta. So that        16   identification and is attached.)
17   was the grounding of the involvement.         17      A. Yes. I believe it was -- I got
18     Q. All right. You anticipated my            18   an e-mail, a PDF of this.
19   next question, which was, was that in         19      Q. Okay. And this is simply the
20   Canada or the USA, and it was in Canada?      20   document, a type of document the parties
21     A. Canada.                                  21   exchange to set depositions. And they're
22     Q. Okay. Have you testified in any          22   also allowed by the rules, as we did
23   administrative proceedings in the United      23   here, to append a document request to it,
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 1   have thoroughness to make sure all              1     Q. Okay.
 2   documents that are pertinent have been          2     A. You know, through the Web.
 3   produced.                                       3     Q. Sure.
 4        Will you take a look at Exhibit            4     A. If they weren't otherwise
 5   A and let me know if you've seen that           5   provided to the lawyers. So there are
 6   before.                                         6   one or two documents that are simply
 7       (Witness reviews document.)                 7   available electronically on the Web.
 8     A. Yes, I have.                               8     Q. Right. And you have references
 9     Q. Okay. And was that something               9   where those can be obtained?
10   you discussed with counsel for                 10     A. That's right.
11   Riverkeeper as well?                           11     Q. Okay. Thank you.
12     A. Yes.                                      12        All right. Will you identify
13     Q. You see the categories of                 13   what we've marked as Exhibit 2?
14   documents that are requested. We               14   (Defendant's Exhibit 2 was marked for
15   requested at number 2 books, treatises,        15   identification and is attached.)
16   and that kind of thing, but by discussion      16     A. Yes. My resumé.
17   between the lawyers, you know, between me      17     Q. Okay. Now, this one is dated
18   and Mr. Brock, we're not asking people         18   2017. And I -- we received this from
19   unless it's convenient for them to             19   counsel for Riverkeeper. Have there been
20   produce the actual document or book so         20   any substantive changes in your vitae
21   long as it's been identified as a              21   since 2017? And by that, by
22   reference somewhere in the report.             22   "substantive," I mean have you obtained
23        So with that caveat, are there            23   any new degrees, any new licenses, have
                                          Page 14                                             Page 16
 1   any documents that you have used or             1   you done any testimony, any of these
 2   referenced in any of your reports that          2   major categories at all?
 3   have not been provided to the lawyers and       3     A. There's been no substantive
 4   that are not identified in your report?         4   change.
 5     A. I think I understood the                   5     Q. Okay. All right. And I'm
 6   question.                                       6   looking at the paragraph that begins your
 7     Q. It was a complicated question,             7   CV. The second sentence where you're
 8   so.                                             8   relating your mining-related experience:
 9     A. There's no documents that I've             9   investigations, designs, construction
10   relied upon that aren't otherwise              10   planning, supervision, performance
11   referenced in my report.                       11   monitoring for tailing impoundments,
12     Q. Okay. All right. And that                 12   waste dump, and management of off-spec
13   would include the expert -- the reports        13   materials; right?
14   of Mr. Brown and others and the                14     A. Correct.
15   references that you've listed at the end       15     Q. Okay. How many different
16   of your reports?                               16   facilities have you, or mines have you
17     A. Correct.                                  17   provided those services for?
18     Q. Okay. All right. Do you have              18     A. Well, I can't give you a precise
19   any documents within the scope of Exhibit      19   number, but it would be more than twenty.
20   A that you have not provided to the            20   But on that order.
21   lawyers?                                       21     Q. Okay. How many of those are in
22     A. The references that I've made             22   the United States?
23   are all publicly available, so                 23     A Less than five
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 1     Q. How many were in Alabama?                  1   right?
 2     A. I worked with a company,                   2     A. Correct.
 3   Lafarge, that had two former cement             3     Q. And as I understand from your
 4   manufacturing operations. So that's             4   CV, that's a sole proprietorship?
 5   mining of sorts. But not coal mining.           5     A. Yes.
 6   There was two facilities in Alabama.            6     Q. Meaning Gordon Johnson is the
 7     Q. Okay. All right. Now, with                 7   sole proprietor; right?
 8   regard to the part of your answer where         8     A. Yes.
 9   the answer was more than twenty, you've         9     Q. Okay. Why do you call it
10   made a good point. Let me rephrase the         10   Burgess Environmental?
11   question to be limited to coal mining.         11     A. Because 1495138 Alberta,
12   So, how many coal mining facilities or         12   Limited, didn't sound personal enough,
13   mines have you provided the services           13   which was the incorporated name I was
14   listed for, total?                             14   given.
15     A. I would say approximately ten.            15     Q. Okay.
16     Q. Okay.                                     16     A. So you have -- you can elect to
17     A. Maybe about half the jobs that            17   give it a name.
18   I've worked on have been coal mines.           18     Q. I see.
19     Q. Okay. And how many of those are           19     A. Burgess is a rock formation in
20   in the USA?                                    20   Yoho Valley in Banff, and Yoho National
21     A. Just one.                                 21   Park is outside of Calgary, a place I
22     Q. Okay. What one was that?                  22   like.
23     A. In Wyoming.                               23     Q. Okay. I understand. All right.
                                          Page 18                                             Page 20
 1     Q. Okay. What's the name of the               1   And under the Canadian system, you are
 2   mine?                                           2   assigned a number?
 3     A. I'm going to say something like            3     A. If you don't otherwise provide a
 4   Caballo, but it was a while ago, so it          4   name.
 5   was more than ten years ago, so I don't         5     Q. If you don't otherwise provide a
 6   -- Caballo Mine maybe.                          6   name. Okay. All right. Now, I
 7     Q. Is that --                                 7   understand that you have some work
 8     A. The answer to your question is I           8   history in common with Anthony Brown?
 9   can't remember.                                 9     A. Correct.
10     Q. Okay. Is that project listed              10     Q. Right? All right. And were
11   anywhere on your CV?                           11   there others, such as Wade Major or any
12     A. It's not.                                 12   of the other individuals that you worked
13     Q. All right. And how many coal              13   with such as the geophysical team that
14   mines in Alabama?                              14   also share some work history with you?
15     A. None. Prior to Maxine.                    15     A. Yes.
16     Q. Okay. On how many days have you           16     Q. All right. Can you identify
17   actually had boots on the ground, your         17   those individuals?
18   boots on the ground at the Maxine Mine         18     A. Wade.
19   site?                                          19     Q. Okay.
20     A. Two.                                      20     A. And Chris Slater, who was on the
21     Q. All right. Your present                   21   geophysical team.
22   position occupationally is that you're         22     Q. Okay.
23   the president of Burgess Environmental;        23     A Those two
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 1     Q. All right. And will you                     1     A. Well, he was asking me about
 2   elaborate for us what your common work           2   the -- he was asking me about somebody
 3   history is?                                      3   else and whether I thought they would be
 4     A. So Anthony and I worked together            4   suitable to do the work.
 5   in a company called Komex that was a             5     Q. Okay.
 6   private organization, and we were                6     A. So. One thing led to another.
 7   partners in the organization. So Anthony         7     Q. Okay. Who was he asking you
 8   looked after the American part of the            8   about?
 9   business, and I was one of the people who        9     A. A former employee of Komex named
10   looked after the Canadian part of the           10   Mike Thompson.
11   business.                                       11     Q. Okay. And how did it come to be
12     Q. Okay.                                      12   that you are the person who I'm deposing
13     A. Whilst I was doing that, Wade              13   today?
14   was part of the Canadian operation, and         14     A. I think, you know, as I recall
15   so was Chris.                                   15   the conversation, Anthony was interested
16     Q. Okay. All right.                           16   in the reclamation aspects of mine waste
17     A. And it was an environmental                17   facilities and was asking about Mike. Of
18   firm.                                           18   course, Mike worked in Canada, Anthony
19     Q. Sure.                                      19   worked in the U.S., so they didn't know
20     A. With maybe a focus on                      20   each other intimately about what their
21   groundwater.                                    21   skills were. And Mike was a hydrologist,
22     Q. Okay. How long did you work in             22   so. I think they call it a
23   the same company with each of those             23   hydrotechnical engineer now. Calculates
                                           Page 22                                              Page 24
 1   individuals?                                     1   water velocities and speeds and volumes
 2     A. This is an estimate.                        2   and things like that.
 3     Q. Certainly.                                  3     Q. Okay.
 4     A. But I would have left the                   4     A. So I didn't think it was a
 5   organization in 2009 and joined in 1995,         5   match.
 6   so that's the period of time where I             6     Q. Okay. And you so advised Mr.
 7   would have overlapped with Anthony.              7   Brown, I take it?
 8     Q. Okay.                                       8     A. Yes.
 9     A. With the others, maybe half that            9     Q. Okay. And did you volunteer
10   duration. Wade came later. Chris came           10   your services, or did he inquire whether
11   later.                                          11   you would be interested?
12     Q. Okay. And during the course of             12     A. One or the other. Probably both
13   your career with the company during those       13   at the same time.
14   overlap periods, did you work on one or         14     Q. Okay. Are you currently working
15   more projects with those individuals?           15   on projects both in the United States and
16     A. I may have worked with Wade. I             16   Canada?
17   certainly didn't work with Anthony, and I       17     A. Am I currently working on
18   didn't work with Chris.                         18   projects? Yes.
19     Q. Okay. How were you contacted               19     Q. Okay. Can you give me an
20   about being involved in the Maxine Mine         20   estimate, or if you happen to know it, a
21   case?                                           21   precise number, as to what percentage of
22     A. Anthony called.                            22   the projects on which you are currently
23     Q Okay And what did he tell you?              23   working are in Canada versus being in the
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 1   United States?                                  1   Mobile are the two projects that you've
 2     A. I would say about 50 percent of            2   done in Alabama?
 3   my work right now is in Canada, 25              3     A. They are two projects I've done
 4   percent in the United States, and 25            4   in Alabama, yes.
 5   percent elsewhere.                              5     Q. Okay. Have you done any other
 6     Q. Okay. And if you would just                6   projects in Alabama?
 7   give me some examples generally of what         7     A. The two I mentioned before when
 8   "elsewhere" would be currently.                 8   you asked about mining projects in
 9     A. Currently, I'm working with SNC            9   Alabama and I mentioned the cement
10   in Saudi Arabia with -- doing a                10   plants.
11   groundwater management project for the         11     Q. Oh, okay. Yeah. Let me clarify
12   Jeddah airport.                                12   my question, then.
13     Q. Okay.                                     13     A. As Burgess, though, those are
14     A. Which is winding down.                    14   the only two.
15     Q. All right. If you will, please,           15     Q. Okay. Have you done any project
16   Mr. Johnson, look at page 2 of your CV.        16   in Alabama involving coal mining other
17     A. Yes.                                      17   than Maxine?
18     Q. Under "Mining and Mine-Related"           18     A. No.
19   experience. First item you've listed is        19     Q. Okay. Now, if you'll look with
20   "Environmental assessment and restoration      20   me at the next three points listed on
21   plan for the Maxine Mine waste rock            21   your experience, the references to the
22   disposal area," as you have it listed.         22   Kearl -- am I pronouncing that correctly,
23   That would be this case; right?                23   Kearl?
                                          Page 26                                               Page 28
 1     A. Correct.                                   1     A. Correct.
 2     Q. Okay. And is your assessment               2     Q. -- Oil Sands project, Kearl
 3   and restoration plan what you have set          3   Initial Development, and Kearl Expansion.
 4   forth in your October 2017 expert report?       4   And then the next reference is to again
 5     A. Yes, it is.                                5   Kearl Oil Sands and Kearl Expansion. And
 6     Q. Okay. And I understand there               6   then there is a third bullet that
 7   are two additional documents that we'll         7   references Kearl Mine development and
 8   talk about. There was a supplement from         8   operations. Are all three of those
 9   November 8, 2017, and then a rebuttal           9   related?
10   report from the end of April 2018.             10     A. Yes, they are.
11   Right?                                         11     Q. Okay. Same site?
12     A. Yes.                                      12     A. Yes, they are.
13     Q. Okay. All right. You also have            13     Q. All right. And where is Kearl?
14   immediately below the Maxine Mine              14     A. Kearl is an oil sands mine north
15   reference a listing for "Environmental         15   of Fort McMurray, Alberta.
16   and stability assessment for the bottom        16     Q. Okay. All right. If you will,
17   and fly ash containment pond for the           17   look a few entries down. I'm looking now
18   Barry electric generating facility in          18   at the entry for "Project manager for the
19   Mobile, Alabama." Right?                       19   maintenance phase of the remedial
20     A. Correct.                                  20   response to the release of the coal
21     Q. So this Maxine Mine assessment            21   tailings impoundment associated with the
22   that you have prepared and the assessment      22   Obed Mountain Mine." What kind of mine
23   that you've listed for fly ash pond in         23   was that?
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 1      A. It was a thermal coal mine.               1   SNC-Lavalin, so it stayed with Norwest.
 2      Q. And what, as you described it             2     Q. All right. You also list
 3   here, does the phrase "release of the           3   "Preliminary engineering and permitting
 4   coal tailings impoundment associated with       4   support for proposed metallurgical coal
 5   the Obed Mountain Mine" mean?                   5   mines located in the Coal Valley and
 6      A. So most mines have a tailings             6   north of Fernie, British Columbia."
 7   impoundment, and tailings are generated         7   Right?
 8   by processing of ore using water, so the        8     A. Correct.
 9   tailings are a semifluid material.              9     Q. All right. What can you tell us
10   There's a tailings pond, as I understand       10   about that project?
11   it, at Maxine. Because they're                 11     A. So, my involvement was when I
12   semifluid, they need to be contained           12   was with Norwest. And so there are
13   within a dam. In the case of Obed              13   basically two types of coal, coal that
14   Mountain dam, that dam failed, and the         14   are -- is used for thermal power
15   water and coal tailings impounded by that      15   generation and coal that is used in steel
16   dam flowed down to the Athabasca River.        16   making, which is called metallurgical
17      Q. Okay. All right. Is that an              17   coal.
18   ongoing project?                               18     Q. All right.
19      A. My involvement was not with the          19     A. In that portion of British
20   assessment and repairs. It was with the        20   Columbia, it's primarily metallurgical
21   managing the maintenance phase for a           21   coal. And there are probably six or
22   period of time when I was at Norwest           22   eight operating mines. One of Norwest's
23   Consultants.                                   23   areas of expertise was doing assessments
                                          Page 30                                               Page 32
 1     Q. Okay.                                      1   of mines pursuant to them being
 2     A. And so it is likely ongoing, but           2   developed, you know, economic
 3   my involvement with the project ceased          3   feasibility, that sort of thing. So my
 4   when I moved away from Norwest.                 4   involvement would have been on the water
 5     Q. Okay. What was the length of               5   and geotechnical aspects of two mines
 6   your personal involvement on that               6   that were in the concept stage at that
 7   project?                                        7   time.
 8     A. Months.                                    8     Q. Okay. Were those projects that
 9     Q. Do you have an estimate as to              9   you were able to complete before you left
10   how many months?                               10   Norwest, or did they remain ongoing when
11     A. Three to six.                             11   you departed?
12     Q. Okay. Do you have a judgment as           12     A. To my knowledge, neither of the
13   to on how many occasions you were              13   mines was constructed.
14   personally boots on the ground at that         14     Q. Okay. Do you know why?
15   location?                                      15     A. I think that, to answer your
16     A. Once.                                     16   question, the portion of work that
17     Q. Again, you were working on the            17   Norwest was doing was completed in both
18   maintenance phase of the remedial              18   occasions.
19   response?                                      19     Q. Okay. Do you know why the mines
20     A. Correct.                                  20   were not implemented or put in place?
21     Q. Okay.                                     21     A. Well, in 2013-2014, the price of
22     A. So we were assigned that                  22   metallurgical coal basically crashed.
23   project, and then I took a job with            23   And so I think the funding for new
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 1   projects was probably delayed or removed         1   higher volume of waste rock generated.
 2   at that time by the proponents.                  2   And so we were tasked with analyzing the
 3      Q. Okay. All right. You also have             3   stability of the foundation and the
 4   a project involved "Hydrologic assessment        4   slopes associated with those large rock
 5   and reclamation planning for the former          5   dumps. We were also retained to do some
 6   mine pit associated with Barkerville             6   design of water management systems
 7   Golds's," is that Quesnel River? Is that         7   leaving the mine.
 8   how you pronounce it?                            8     Q. Okay.
 9      A. Yes.                                       9     A. Sedimentation ponds, diversions,
10      Q. Okay. Quesnel River Mine. Was             10   that sort of thing.
11   it a gold mine?                                 11     Q. All right. What company were
12      A. It was an old gold mine, yes.             12   you employed by at the time you worked on
13      Q. Okay. How long had it been                13   that project?
14   closed at that point?                           14     A. That was a Komex project.
15      A. The gold line had been                    15     Q. Okay. How long did you work on
16   suspended, reactivated, suspended,              16   that project?
17   reactivated.                                    17     A. Well, our involvement in Line
18      Q. Okay.                                     18   Creek essentially continued the entire
19      A. And so at the time I was working          19   time I was at Komex. It was a
20   on it, there was a portion of the mine          20   long-standing customer, and projects were
21   that was going to continue to be mined          21   initiated and completed.
22   and had a portion that was going to be          22     Q. Okay.
23   permanently closed. So my involvement           23     A. Throughout the time, as I
                                           Page 34                                             Page 36
 1   was on the portion that was going to be          1   recall.
 2   permanently closed. My understanding is          2     Q. All right. And according to
 3   it's still operating.                            3   your CV, you were at Komex from 1987 to
 4      Q. Okay.                                      4   2006; right?
 5      A. I don't know that for sure, but            5     A. Correct. There was a two-year
 6   I believe that's the case.                       6   period of time when I wasn't there, but.
 7      Q. Okay. All right. And then the              7     Q. Okay.
 8   final project that I wanted to ask you           8     A. Through that period.
 9   about regarding mining and mine-related          9     Q. All right. What was the
10   experience that you have listed is of the       10   two-year period in which you were not at
11   "Investigation and design of waste rock         11   Komex?
12   dumps and mine infrastructure for the           12     A. I moved for a brief period of
13   Line Creek coal mine located near               13   time for personal reasons to Ontario, so.
14   Sparwood, British Columbia."                    14     Q. Okay. What did you do while you
15          Okay. Can you tell us what you           15   were in Ontario for employment?
16   did with regard to the Line Creek coal          16     A. I was environmental engineer for
17   mine?                                           17   Conestoga-Rovers & Associates.
18      A. So I had -- first of all, this            18     Q. Okay. Is there any particular
19   was early in my career. And as part of          19   reason that's not listed on your CV?
20   the mine development, especially in             20     A. No particular reason.
21   mountainous regions, the mine waste             21     Q. Okay. When were you working in
22   dump -- this is an open pit mine, so            22   Ontario for Conestoga-Rovers?
23   relative to Maxine Mine, there's a much         23     A 1992 and 1993 Sorry, 1993 and
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 1   1994.                                           1   to you asking him three times.
 2     Q. Why, then, does your CV show               2         MR. DAVIS: I'm just trying to
 3   continuous employment from 1987 to 2006         3   understand why he's got inaccurate
 4   at Komex?                                       4   information on his CV.
 5     A. There's no -- there's no reason            5         MR. BROCK: And he has answered
 6   per se. I try to keep my CV reasonably          6   that twice.
 7   short. Other than that. There was               7     Q. (By Mr. Davis) There's an
 8   nothing unique about my employment at           8   objection on the record, but you're
 9   CRA.                                            9   welcome to answer the question.
10     Q. Do you think it's important when          10     A. Well, I -- we can read back my
11   someone has a CV that the CV be accurate?      11   previous answer.
12     A. Yes. I believe that my CV                 12     Q. Okay. So you don't care to say
13   accurately depicts the experience I've         13   anything further?
14   had through my career.                         14     A. I can tell you that, in my
15     Q. Okay. Notwithstanding that it             15   opinion, the positions I've held that are
16   leaves off two years of employment at a        16   written in my CV accurately depict the
17   different company; right?                      17   types of experience that I've had that
18     A. My CV does not include the                18   are relevant to what I'm doing today. So
19   employment with CRA, but it does include       19   I don't see any problem with the omitting
20   some of the projects I worked.                 20   the Conestoga-Rovers period of time. And
21     Q. Okay.                                     21   prior to joining -- it's not nine years,
22     A. There was no intent to mislead            22   by the way, with Komex, it was quite a
23   in that. It's simply a matter of trying        23   bit longer than that. Prior to --
                                          Page 38                                              Page 40
 1   to make my CV brief enough so that              1     Q. You're exactly right. Excuse
 2   potential clients can look at it without        2   me. It's nineteen years, isn't it?
 3   spending too much time seeing what I've         3     A. That's right. So, you know,
 4   done.                                           4   before that period of time, I had a brief
 5     Q. Okay. And understand I'm not               5   job with an oil company, a brief job with
 6   implying anything. I'm just trying to           6   another consulting company. But I don't
 7   understand the difference between what          7   think that's material to what I'm doing
 8   you're telling me and what I see on the         8   now, so that's why it's not on the
 9   document, so.                                   9   resumé.
10     A. Correct.                                  10     Q. Okay. What oil company did you
11     Q. Please understand that.                   11   work for?
12     A. Yes.                                      12     A. Dome Petroleum.
13     Q. Okay. And you don't see any               13     Q. When?
14   issue with showing a continuous nine-year      14     A. 1981.
15   span of employment with Komex                  15     Q. What's the other company that
16   notwithstanding that that's not factually      16   you worked for?
17   accurate?                                      17     A. I worked as a -- it was not
18        MR. BROCK: I object to the                18   incorporated, but I worked as a
19   question. He has answered the question         19   contractor, a technical contractor after
20   now twice.                                     20   I graduated from the University of
21        MR. DAVIS: Are you instructing            21   California. And I worked for a number of
22   him not to answer?                             22   companies. I worked for Gulf, I worked
23        MR BROCK: No I'm objecting                23   for Arctic Offshore Exploration, I worked
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 1   for a company called Hardy Moss out of           1   an environmental assessment where you are
 2   California. But these were all brief             2   going in and looking at specific things
 3   assignments that aren't material to what         3   based on some program of professional
 4   I'm doing now, so that's why they're not         4   standards or both?
 5   in there.                                        5     A. It was a program of assessment
 6     Q. Okay. What span of time does                6   that was prescribed internally by Lafarge
 7   that contracting work cover?                     7   to -- there's an off-spec product that
 8     A. Pre-Komex.                                  8   they refer to as cement kiln dust that is
 9     Q. Okay. So from the time of your              9   disposed or stored at their -- at many of
10   graduation from the University of               10   their cement plants, not all.
11   California with your master's degree            11     Q. Okay.
12   until you became employed by Komex in           12     A. And they were doing an internal
13   1987?                                           13   assessment to evaluate whether there was
14     A. Correct.                                   14   any environmental implications associated
15     Q. Okay. And when you say that                15   with that kiln dust, and if so, what they
16   experience is not material to what you          16   should do about it.
17   are doing now, what do you mean?                17     Q. Okay. Have you ever worked on
18     A. I mean it is not -- the type of            18   an environmental impact study such as is
19   work I did at that time is not consistent       19   prescribed under certain circumstances
20   with the type of work I'm doing now.            20   under the United States federal neatness
21     Q. Did you finish your answer?                21   statute, NEPA?
22     A. I did.                                     22     A. No, I have not in the United
23     Q. Okay. All right. Now if you                23   States.
                                           Page 42                                               Page 44
 1   will, look for me on page 3 of your CV.          1     Q. Okay. Are you familiar with the
 2   You have a heading that reads                    2   environmental impact statement process
 3   "Environmental Impact Assessment and             3   generally speaking?
 4   Permitting." Were any of the projects            4     A. Yes. There's a similar process
 5   you have listed there in the United              5   in the areas that I have worked with.
 6   States?                                          6     Q. Okay.
 7       (Witness reviews document.)                  7     A. And there's a similar process
 8     A. Yes.                                        8   internationally.
 9     Q. Okay. Which one or ones?                    9     Q. Okay. Good.
10     A. So if you look at the second to            10     A. They're all similar, but not
11   the final bullet.                               11   identical.
12     Q. Okay. I see it.                            12     Q. I understand. You're familiar
13     A. That summarizes my experience              13   with the process, then, in Canada; right?
14   primarily with Lafarge and of the               14     A. Yes.
15   facilities I worked at, assessed and            15     Q. Okay. And what is that process
16   helped them with permitting. About half         16   called in Canada? Is it called
17   were in the United States.                      17   environmental impact assessment?
18     Q. Okay. What do you -- I want to             18     A. In most provinces it is, yes.
19   make sure I understand what you have got        19     Q. Okay.
20   here. It says environmental assessment          20     A. It's a provincially regulated
21   and permitting. Was there a formal              21   activity, primarily. There is a federal
22   program of environmental assessment that        22   impact assessment process as well.
23   was prescribed by regulations, or is it         23     Q Okay
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 1     A. But it's either referred to as             1   divided into quantity issues and quality
 2   an environmental impact assessment or an        2   issues.
 3   environmental assessment.                       3     Q. Okay. All right. Can you give
 4     Q. Okay. What are the elements of             4   me some examples of what would be
 5   an environmental impact assessment?             5   assessed under the social and economic
 6     A. The formally --                            6   category?
 7     Q. The form that you're familiar              7     A. The economic impact of a
 8   with.                                           8   project, typically employment and money
 9     A. Yes. Well, there are a lot of              9   generated by the economic activity.
10   components to it.                              10   Other aspects would be potential adverse
11     Q. Right. So generally, as best              11   effects to neighboring land users or
12   you can as you sit here today.                 12   stakeholders.
13     A. So they break down into what I            13     Q. Okay. And then finally, the
14   would refer to as terrestrial issues.          14   air-related category, can you give me
15     Q. Okay.                                     15   some examples there?
16     A. Water resources and aquatic               16     A. Air would be air emissions
17   issues. And social and economic issues.        17   modeling and then impact assessment on
18   Air emissions-related issues.                  18   air quality.
19     Q. Okay.                                     19     Q. Okay.
20     A. And they're bundled in that               20     A. To be clear, I'm not an air
21   manner. And they're likely twenty              21   expert, but.
22   some-odd components. I'm sure if I tried       22     Q. Right.
23   to list them, I would inadvertently leave      23     A. But it's a process of looking at
                                          Page 46                                              Page 48
 1   one or two out.                                 1   the emissions, either point source
 2      Q. Certainly. Okay. I understand             2   emissions or fugitive emissions, and what
 3   those, those categories as you've               3   effects that might have on whether it's
 4   described them. Can you give us some            4   people or aesthetic issues or animals,
 5   examples of the things that would be part       5   wildlife.
 6   of the terrestrial assessment?                  6     Q. Okay. And so I understand your
 7      A. An assessment of soils, an                7   testimony, these are provincially
 8   assessment of vegetation, an assessment         8   regulated assessments?
 9   of wildlife, and an assessment of the           9     A. Primarily.
10   reclamation requirements, or conservation      10     Q. Okay.
11   and reclamation, would be the four main        11     A. And there are federal
12   ones that I'm familiar with.                   12   overlapping rules as well.
13      Q. Okay. All right. And can you             13     Q. Okay.
14   give us some examples of elements that         14     A. I think a similar situation
15   would be under the heading of water and        15   exists in the United States.
16   aquatic?                                       16     Q. Okay. All right. But in any
17      A. Yes. Surface water,                      17   particular instance, if an environmental
18   groundwater. And then bundled, aquatic         18   impact assessment is required, there is a
19   life, it might be fish, it might be            19   body of regulations to which one could
20   benthic organisms, might be other things.      20   refer that would set out all of the
21      Q. Okay.                                    21   requirements?
22      A. And then the groundwater and             22     A. Correct. Sometimes two
23   surface water components are typically         23   overlapping
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 1     Q. Okay. In the environmental                  1   Mobile. Would that be correct?
 2   impact assessment scenario that exists in        2     A. That's correct.
 3   Canada with which you're familiar, to            3     Q. Okay. All right. And it says
 4   what kind of entities does that apply?           4   you are giving support to Riverkeeper and
 5   And let me try and give you a little             5   the Southern Environmental Law Center
 6   predicate that may make that question            6   relating to those facilities. What do
 7   make more sense.                                 7   you mean by the word "support" as used
 8         In the United States, for                  8   there?
 9   example, without getting into the                9     A. What I mean is technical
10   technicalities, there has to be some            10   assessment in my area of expertise.
11   level of nexus with a governmental action       11     Q. Okay. Do you perceive your role
12   to trigger the process. Is there a              12   in the Maxine case to be an advocate for
13   similar linkage or trigger under Canadian       13   Riverkeeper?
14   law, or does it have some other thing           14     A. No.
15   that --                                         15     Q. What do you perceive your role
16     A. No, there are triggers.                    16   to be?
17     Q. Okay.                                      17     A. To be -- to evaluate restoration
18     A. Some of which are objective and            18   options for the GOB pile.
19   some of which are subjective.                   19     Q. Okay.
20     Q. Okay.                                      20     A. And then to recommend at a
21     A. Meaning the regulator will use             21   conceptual level what I believe is a
22   their discretion in the subjective cases.       22   responsible restoration plan.
23     Q. All right. Can you give me a               23     Q. All right. In this -- under
                                           Page 50                                              Page 52
 1   few examples for purposes of our                 1   this same category of "Legal and
 2   understanding?                                   2   Regulatory Representation," you have
 3     A. A mine of a certain size, a                 3   several -- a number of entries that begin
 4   petrochemical facility of a certain size.        4   with the word "Represented," and then it
 5     Q. Okay. Do you happen to know                 5   has the name of your client, and then it
 6   what size of mine would require that kind        6   continues the description. And my
 7   of oversight or engagement?                      7   question here is, what do you mean by
 8     A. I couldn't quote you the number,            8   "represented"?
 9   but a mine site such as Maxine would be          9     A. I suppose, you know,
10   large enough to trigger.                        10   representing the technical assessments
11     Q. Okay.                                      11   that I've done in support of whatever the
12     A. And it also varies from place to           12   issue was that was being regulated or
13   place. There are not identical triggers         13   debated at a legal level.
14   in each province.                               14     Q. Okay.
15     Q. Okay. If you will please turn              15     A. I don't know if it's meant to
16   to page 4 of 4, and I'm now looking under       16   have any kind of deep meaning other than
17   the heading of "Legal and Regulatory            17   to introduce the sentence.
18   Representation." The first heading I            18     Q. Okay. The reason I ask,
19   read to be a reference to both your work        19   actually, has an analogy in U.S. law, and
20   at Maxine, which you're here to talk            20   the analogy that I was trying to get
21   about today, and then to your work              21   clarification on was, in certain kinds of
22   related to the ash containment pond at          22   tax cases, accountants, as opposed to the
23   the Barry electric generating facility in       23   usual case where you would require a
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 1   lawyer, can represent people in certain         1   similar manner, reclaiming and
 2   kinds of proceedings with the IRS. So I         2   remediating sites. These are words that
 3   was really seeking clarification about          3   are in common practice. Restoration, by
 4   whether there was some analogous                4   that I mean restoring the Tributary 1 and
 5   situation where you would engage in             5   the lands associated with the GOB pile to
 6   actual advocacy and representation under        6   something approximately equivalent to
 7   Canadian law. But I understand your             7   what existed prior to that GOB pile being
 8   answer.                                         8   placed and in a manner that deals
 9         Okay. All right. We've been               9   responsibly with the pollutants that are
10   going almost an hour, and I'm about to         10   migrating out of that pile and into the
11   move into your expert report. Would you        11   either Tributary 1 or the Locust Fork.
12   like to take a break?                          12     Q. Okay. Had you heard the acronym
13     A. Sure.                                     13   GOB before your involvement in the Maxine
14            (Break taken.)                        14   case?
15     Q. (By Mr. Davis) All right, Mr.             15     A. No.
16   Johnson. You now have in front of you          16     Q. All right. Had you heard the
17   what we've marked as Exhibit 3 to your         17   term "geologic overburden"?
18   deposition. Will you take a moment, look       18     A. Yes.
19   at the document, and identify it for us        19     Q. Okay. And what is geologic
20   for the record.                                20   overburden, as you understand it to be?
21   (Defendant's Exhibit 3 was marked for          21     A. I would say that it's the waste
22   identification and is attached.)               22   rock that separated from the ore in
23     A. Yes. This is the report that I            23   mining, but in this case coal, either as
                                          Page 54                                              Page 56
 1   wrote and submitted in October of last          1   overburden, rock that exists above the
 2   year.                                           2   coal, or interburden, rock that exists
 3     Q. All right. Will you confirm for            3   within the coal.
 4   us that the document is complete, or            4     Q. Okay. All right.
 5   appears to be complete?                         5     A. I've made a point in my report
 6     A. It does appear to be complete,             6   of referring to the material as mine
 7   correct.                                        7   waste.
 8     Q. Okay. Very good. All right.                8     Q. Okay.
 9   If you will, let's look at the page             9     A. Which is a term that I see as --
10   you've designated as ES-1 this is in your      10   or I've been more accustomed to using.
11   "Executive Summary" section. The last          11     Q. Okay. All right. And just so
12   sentence of the first paragraph reads, "I      12   we're perfectly clear about your use of
13   was retained by SELC to provide analysis       13   the term "mine waste" and what it means,
14   and expert opinion regarding the               14   what is the definition of mine waste as
15   restoration of the Geologic Overburden         15   you have used it?
16   (GOB) that has been placed at the Site,"       16     A. Well, mine waste would refer to
17   Maxine site.                                   17   the actual material. So it would be the
18         Did I read that correctly?               18   same materials, but it's a, you know, a
19     A. Yes.                                      19   waste product generated -- natural waste
20     Q. All right. What do you mean by            20   product generated by the mining activity.
21   "restoration of the Geologic Overburden"?      21     Q. Okay.
22     A. By restoration, I would mean              22     A. As opposed to rags and barrels
23   reclaiming -- so words that get used in a      23   and things like that that are not
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 1   natural.                                        1   summarize them because the document
 2     Q. I understand. So, am I correct,            2   speaks for itself, but. As I read this,
 3   then, that what we're talking about is          3   your assessment and opinion is based on
 4   rock and dirt and minerals?                     4   observations you made at a site visit and
 5     A. Yes. And water.                            5   inspection. That's the two days you
 6     Q. Okay. Do you consider the water            6   spent on site; right?
 7   to be part of the mine waste?                   7     A. Correct.
 8     A. Well, I believe documents showed           8     Q. Data collected through sampling
 9   that there was what they referred to as         9   and analysis. Work completed by other
10   washer rock deposited in the GOB pile.         10   consultants, information obtained by
11   And washer rock, obviously, is a mixture       11   Riverkeeper and SELC, discovery documents
12   of water and the mine waste. So yes,           12   provided by Drummond, publicly available
13   that would be part of the waste that was       13   information, and your judgment and
14   placed in that.                                14   experience. Right?
15     Q. Okay. So --                               15     A. Correct.
16     A. Most mines have a water cleaning          16     Q. All right. So that's the
17   process in them. And so, yes, there is         17   complete list of what your assessment and
18   waste water generated.                         18   your opinion is based on?
19     Q. Okay. Do you understand washer            19     A. Correct.
20   rock to be both rock in water as opposed       20     Q. Okay. All right. With regard
21   to rock that has been washed?                  21   to the data collected, is all the data
22     A. Both, I suppose. There's water            22   that you relied on referenced in your
23   entrained in the washer rock and there's       23   reports? And I mean that plural, both
                                          Page 58                                             Page 60
 1   the rock, obviously.                            1   original, rebuttal, and your interim
 2         You know, I'm just thinking back          2   memorandum.
 3   to the original question of what you            3     A. All the data that I reviewed and
 4   asked my understanding of the waste to          4   considered in my assessment is not
 5   be. And there would be coal in the -- in        5   included in the report. What I tried to
 6   that mixture, too.                              6   do in my report was highlight the data
 7     Q. Okay.                                      7   that is material to planning the
 8     A. And I can't remember whether you           8   restoration. So as you're probably
 9   said that.                                      9   aware, there was data generated when the
10     Q. I didn't. I said mineral, but.            10   mine was in operation, various water
11     A. Yeah. And so coal would not be            11   quality tests. That, for example, is not
12   a mineral, it would be an organic              12   included in my report. There were more
13   compound, so.                                  13   analytes in the suite of tests that were
14     Q. Okay. And this would be the               14   done by aquilogic. That's not in my
15   coal that could not be economically            15   report.
16   extracted from the rock or dirt?               16     Q. Okay.
17     A. Yeah. Or mixed in, yeah.                  17     A. So there is a body of data that
18     Q. So there would be a residue?              18   is not specifically in my report that I
19     A. Yes.                                      19   did review.
20     Q. Okay. All right. The second               20     Q. Okay.
21   paragraph in your executive summary lists      21     A. But it would be included in
22   some things that your assessment and           22   those documents that I stated I relied
23   opinion is based on And I'm going to           23   upon
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 1     Q. Okay. All right. And that's                  1     Q. Okay. Okay. You reference in
 2   what I'm trying to get my arms around,            2   this paragraph information obtained by
 3   because one of my jobs is to understand           3   Riverkeeper and SELC. What information
 4   everything that you looked at that                4   are you referring to there?
 5   provides a basis for your opinions. So            5     A. What I'm referring to primarily
 6   let me see.                                       6   is there's a number of documents that are
 7         Is there any data that you                  7   listed in my references that reflect, or
 8   reviewed that is not referenced in your           8   the subject matter, they were prepared by
 9   reports that influenced your assessment           9   ABC or PELA, for example, during the
10   and conclusions?                                 10   operating period of the mine. And they
11     A. Is there anything -- can you                11   were provided to me by SELC and
12   repeat that so that I --                         12   Riverkeeper.
13     Q. Yeah.                                       13     Q. Okay. And --
14         MR. DAVIS: Can you read it                 14     A. And I'm not sure in each and
15   back?                                            15   every instance how they were obtained.
16     Q. It's difficult to try and ask               16     Q. I understand. And some of
17   these questions, so if you'll bear with          17   those, then, could also be in the
18   me.                                              18   category of discovery documents provided
19        (Requested portion read.)                   19   by Drummond; right?
20     A. No. I would repeat, though,                 20     A. That's a possibility, for sure.
21   that my judgment and experience has              21     Q. Okay. And as I understand your
22   influenced my recommendations.                   22   answer previously, any publicly available
23     Q. I understand. And we'll discuss             23   information that you deemed important for
                                            Page 62                                             Page 64
 1   that as well. I understand that you               1   your assessment, you've referenced in
 2   looked at a broader universe of                   2   your reports.
 3   information and material than may be              3     A. Correct.
 4   referenced in your report. And I also             4     Q. Okay. All right. Now, let's
 5   understand and I think any reader would           5   talk about your judgment and experience.
 6   assume that if you referenced specific            6   Your assessment and opinion is based in
 7   things in your report, that those would           7   part, in addition to the other things
 8   be part of the basis for your assessment.         8   you've listed, on your judgment and
 9   In other words, those are things that             9   experience. So, what do you mean by
10   influenced your assessment.                      10   judgment and experience here?
11     A. Correct.                                    11     A. First and foremost, it would be
12     Q. Okay. So what I am trying to                12   my judgment and experience on --
13   understand and ask you an intelligible           13   regarding developing up restoration plans
14   question about is, is there anything             14   that can be relied upon.
15   that -- any body of data, however you            15     Q. Okay.
16   would describe it, in whatever form it           16     A. To work. So, you know, you
17   was in, that led you to a certain                17   would bundle my experience in designing
18   conclusion or assessment that's reflected        18   and implementing remediation, restoration
19   in your report that is otherwise not             19   plans over my career that are relevant to
20   cited in your report? Does that make             20   the -- to Maxine.
21   sense?                                           21     Q. Okay.
22     A. That makes sense to me. And the             22     A. And then the other part of
23   answer is no                                     23   judgment and experience would be the
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 1   circumstances. Parking the whole issue           1   right. How did you complete your
 2   of regulatory compliance in terms of does        2   assessment and develop your opinion in
 3   this number exceed that number, parking          3   cooperation with Mr. Brown?
 4   that for a minute, the types of controls         4     A. So on the -- on the cooperation
 5   that need to be put in place to safely           5   front, when we were on the site doing
 6   restore mine waste in this case in a             6   tasks, there was a limited period of time
 7   manner that's protective of the                  7   available to us to sample water, sample
 8   surrounding watershed.                           8   groundwater, sample mine waste, all the
 9      Q. Okay. And does the application             9   things that were done, geophysics. So we
10   of your judgment and experience to the          10   divided tasks so they could be done
11   other things that you have listed, your         11   efficiently in the period of time.
12   observations, documents that you've             12         And then on the analytical and
13   reviewed, sampling and analysis, does           13   assessment front, the two main areas
14   that involve interpretation of the data,        14   where I relied upon the aquilogic report
15   you know, from sampling, the documents,         15   would be in the development and
16   and other information?                          16   interpretation of, say, criteria for
17      A. Correct. I think, you know, a             17   water quality and also in the I would say
18   complete answer to your question, because       18   calculation or estimation of the amount
19   I think you brought up the site                 19   of erosion that we observed, trying to
20   inspection as well, it would be my              20   quantify and corroborate what we had
21   judgment and experience in making sense         21   observed on the site with regard to
22   out of what it is that I observed during        22   erosion.
23   my field visit.                                 23     Q. Okay. All right. With regard
                                           Page 66                                              Page 68
 1     Q. Okay.                                       1   to your reliance on the aquilogic report,
 2     A. So, you know, number one on that            2   would you agree with me, then, that
 3   list would be the severe erosion that's          3   aquilogic is wrong to any extent that
 4   evident in the GOB pile. That's not              4   report is wrong and you relied upon it,
 5   interpretation of data. That's                   5   that what you derived from that for your
 6   interpretation of the land forms of what         6   assessment would be incorrect?
 7   I've seen and making sense out of how            7      A. The answer is partly yes, and
 8   they were developed and how they                 8   I'll explain my answer.
 9   continued to erode and transport                 9      Q. Certainly.
10   materials down into the Locust Fork and         10      A. The -- so for example, one of
11   into Tributary 1. So that, that's               11   the areas where I would have relied upon
12   judgment and experience that applies to         12   aquilogic would be the criteria that were
13   the observational approach of what I did.       13   established for water quality. So
14   And then there's judgment and experience        14   clearly, if the criteria for one of those
15   that applies to the analytical data.            15   elements was incorrect and the box was
16     Q. Okay. All right. In the next               16   colored incorrectly, then that would be
17   paragraph, you say you developed your           17   wrong.
18   opinion in cooperation with aquilogic;          18      Q. Okay.
19   right?                                          19      A. Sorry, I've got a tickle in my
20     A. Yes.                                       20   throat, so.
21     Q. And aquilogic is Anthony Brown.            21      Q. That's okay. Take your time.
22     A. Yes.                                       22      A. The second part is, where I
23     Q In this instance; right? All                23   don't think that would be the case --
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                                           Page 69                                             Page 71
 1     Q. Okay.                                       1   migrated outside of the GOB pile and were
 2     A. -- is designing or                          2   traveling down and then training either
 3   conceptualizing the restoration plan.            3   in the former basins or had carried on
 4     Q. Okay.                                       4   into Locust Fork.
 5     A. Excuse me.                                  5         So when I was there, I concluded
 6     (Discussion held off the record.)              6   that based on the geometry of the erosion
 7     Q. (By Mr. Davis) All right. If                7   features that I saw, that the amount of
 8   you'll look at the next paragraph, which         8   materials that would be transported in a
 9   is some introductory language and then           9   significant rainfall event -- and Alabama
10   three bullet points, is that your               10   gets significant rainfall events -- would
11   analysis or is that analysis from               11   be on the order of tens of thousands of
12   aquilogic?                                      12   cubic yards and maybe even as high as a
13     A. This is my analysis.                       13   hundred thousand cubic yards in one of
14     Q. Okay. All right. For each of               14   your major storms. This is an assessment
15   your three bullet points, will you tell         15   that I made on the site using estimates
16   us what the basis for that conclusion is.       16   of the geometries of the things that I
17     A. So the first one, what was                 17   saw.
18   immediately striking to me when I -- so         18         I also -- it was clear -- so
19   to put this into context, I was -- the          19   I've worked on a number of sites that
20   first thing we did when we arrived on the       20   have acid mine drainage. And it was
21   site is I traversed the traversable parts       21   clear from looking at the surface water,
22   of the GOB pile. And what was striking          22   some of which were sampled by the people
23   was the large quantity of erosion that I        23   on site, not by me, but the people on the
                                           Page 70                                             Page 72
 1   observed, or evidence of erosion. And            1   site at the same time, that that surface
 2   that was basically three types of                2   water was heavily impacted by acid mine
 3   erosion, I would say. One is the erosion         3   drainage. It's a -- it has an appearance
 4   of what I refer to as -- I want to make          4   that is consistent from place to place.
 5   sure I get this right, but basically flow        5   And that same appearance was evident in
 6   channels through the GOB pile, so when it        6   places where the groundwater was seeping
 7   rains, water accumulates in low places,          7   out and discharging, for example, into
 8   and then there are drainage patterns,            8   the Locust Fork. So, you know, those
 9   drainage features in the actual GOB pile.        9   were observations that I made when I was
10   And so the erosion that occurred in those       10   on the site. And those were supported by
11   drainage features was not feet deep, it         11   the subsequent analyses.
12   was tens of feet deep. It was far higher        12     Q. Okay. Can you explain for me
13   than my height. And this wasn't in              13   how you made -- and I may not get the
14   Tributary 1. This was just in places            14   words in the right order, so bear with
15   where small drainage patterns had               15   me -- how you made an estimate of erosion
16   established.                                    16   by visually looking at the geometries of
17        And there were large escarpments           17   the site.
18   where trees were falling down. Clearly,         18     A. So for example, on the discharge
19   there was evidence of recent exposure of        19   end of things where the materials
20   those materials, so there was kind of a         20   accumulate outside of the area that
21   slope erosion in addition to this               21   the -- that is being eroded. So you look
22   drainage pattern erosion. And then there        22   at it from two perspectives, where the
23   was large volumes of mine waste that had        23   material came from and where it's going
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 1         So based on the geometry of what            1      A. Correct. In some cases, paced
 2   those basins would have looked like when          2   it out. In some cases, referenced things
 3   they were constructed, it was evident             3   like trees and heights to get maybe a
 4   that tens of thousands, many tens of              4   more precise -- or "precise" is probably
 5   thousands of cubic yards of mine waste            5   not the right word, but a more reliable
 6   had filled those basins and then carried          6   estimation than simply eyeballing.
 7   on into the river. So by that                     7      Q. Okay. Did you make any field
 8   estimation, you can tell the volume is            8   notes where you recorded these
 9   bigger than that.                                 9   calculations or visual estimates?
10         Going to the source, there were            10      A. To my recollection, no. The
11   drainage features that were hundreds of          11   field notes that we took had to do with
12   yards long, tens of yards wide, and three        12   the sample locations and why we selected
13   to five yards deep. So by estimating             13   them.
14   those geometries, you can come up with a         14      Q. Okay. Did you take any field
15   value that approximates the amount of            15   notes?
16   erosion that has occurred in that place.         16      A. I didn't take them. Chris
17         And then on the escarpment you             17   Slater was the one who wrote them down,
18   have a different sort of geometry. You           18   but he was, in many cases, writing down
19   have extremely steep slopes, you have            19   what I dictated to him.
20   recent exposure, and then you have an            20      Q. Have you provided Chris Slater's
21   area.                                            21   field notes to the Black Warrior
22         So those are the three areas of            22   Riverkeeper's lawyers?
23   erosion where at a conceptual level and          23      A. I believe they're included in
                                            Page 74                                              Page 76
 1   at a high level as I was walking through          1   the aquilogic report. They're not in my
 2   the area, I was making estimations in my          2   report.
 3   head as to what the volumes would have            3     Q. Is it your understanding that
 4   been.                                             4   Mr. Slater would have been recording
 5     Q. Okay. Correct me if I'm wrong                5   specific instances where you made a
 6   about this, but do I understand you to be         6   visual assessment of erosion based on --
 7   saying that, for example, on your point           7   similar to what you've described?
 8   about the tens of thousands of -- was it          8     A. I think you might have answered
 9   tons?                                             9   -- asked me that just a minute ago. I
10     A. Cubic yards.                                10   didn't, to my recollection, dictate to
11     Q. -- cubic yards of soil and the              11   him what any quantification or estimation
12   ponds, that you could look at this, at           12   of the volumes.
13   what you're seeing, eyeball it --                13     Q. Okay.
14     A. Correct.                                    14     A. You know, when we got back, I
15     Q. -- and --                                   15   did review the field notes. And to the
16     A. And that's why I use the term               16   best of my recollection, they had to do
17   tens of -- it's not intended to be               17   with the sampling locations and why they
18   dramatic. It's intended to communicate           18   were selected.
19   an order of magnitude as opposed to a            19     Q. Okay. Thank you for clarifying
20   precise number.                                  20   that.
21     Q. Okay. So you eyeball it, you                21         All right. You mentioned that
22   calculate it in your head, and that's            22   you had worked on previous sites where
23   what you believe to be the case?                 23   acid mine drainage, AMD, was an issue
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                                           Page 77                                               Page 79
 1   Right?                                           1   acid rock drainage, that similar
 2     A. Correct.                                    2   symptomology.
 3     Q. How many sites have you worked              3      Q. Any other coal mines besides the
 4   on where there were acid mine drainage           4   Maxine Mine?
 5   issues?                                          5      A. Where I've observed or evaluated
 6     A. Many. At least ten. Both in                 6   that?
 7   the mining area and in the petrochemical         7      Q. Acid mine drainage, right.
 8   area. Because acidification is an issue          8      A. So for those coal mines that we
 9   too in petrochemical processing.                 9   talked about in my CV.
10     Q. Okay.                                      10      Q. Okay.
11     A. So more than ten.                          11      A. In B.C. we do an evaluation of
12     Q. Okay. How many coal mining                 12   potential acid mine drainage. In those
13   sites?                                          13   cases it was determined that there wasn't
14     A. There would be -- we don't have            14   any.
15   acid mine drainage issues with coal             15      Q. Okay. We're still not
16   mining sites in western Canada. So my           16   communicating, so let me try and --
17   experience would be in similar sites with       17      A. So situations like Maxine where
18   similar excavation and placement of waste       18   it's a coal mine and its coal refuse
19   rock, but not coal mine. Hard rock              19   pile, the answer is no, other than
20   mining, for example.                            20   Maxine.
21     Q. Okay. All right.                           21      Q. Okay. All right. Let's look at
22     A. Hard rock mining means like                22   your second bullet point. And the
23   metals mining.                                  23   question is the same as the first, what
                                           Page 78                                               Page 80
 1     Q. I understand. All right. Any                1   is the basis for your opinion there?
 2   instances other than Maxine Mine where           2     A. You're talking about the
 3   there was an acid mine drainage as you've        3   statement "pollutants are being dissolved
 4   described it?                                    4   in surface water"?
 5     A. Yes.                                        5     Q. Yes.
 6     Q. Okay. Which one? Which one or               6     A. So the basis of the opinion in
 7   ones? And I'm speaking again of coal             7   this case is twofold.
 8   mines, acid mine drainage other than             8     Q. Okay.
 9   Maxine Mine.                                     9     A. The observations that I made on
10     A. Yeah. So acid rock drainage                10   the site that -- where I concluded that
11   with a large -- it was a large earthworks       11   this is acid rock drainage. The nature
12   project in support of developing oil and        12   of the water, the appearance of the
13   gas activities, but it involved the             13   water, the oxidation and precipitation of
14   management of the same sorts of shales          14   iron, for example, it had all of the
15   that included pyrites that generated acid       15   observational traits of acid rock
16   rock in northern B.C. There is two hard         16   drainage.
17   rock mines in northern B.C. and in the          17         And then the second part of that
18   Yukon that generated acid mine drainage.        18   is the follow-up analytical work that was
19   So I'd used the acid rock drainage and          19   done to confirm it.
20   acid mine drainage. And then a large            20     Q. Anything else?
21   number of sites that are related to             21     A. Well, there was information in
22   sulfur, as opposed to sulfide, in the oil       22   the record that was generated during the
23   and gas business where that sulfur led to       23   operational stage of the mine that there
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                                            Page 81                                             Page 83
 1   was also data that suggested that this            1     Q. Okay. Anything else?
 2   Maxine Mine, the waste rock was                   2     A. No.
 3   susceptible.                                      3     Q. Okay. And I keep saying
 4     Q. Okay. Anything else?                         4   "anything else" because I'm trying to
 5     A. No.                                          5   give you the opportunity to tell us every
 6     Q. Okay. Now let's look at your                 6   basis you can think of.
 7   third bullet point, the one that begins           7     A. I understand, yeah.
 8   "pollutants are being dissolved in                8     Q. All right. Now, in the next
 9   groundwater." And same question, what is          9   paragraph, as I understand it, you are
10   the basis for that statement?                    10   talking about measures that -- you're
11     A. The basis is the same as the                11   saying Drummond, but do you understand
12   basis for the surface water. So there            12   that Drummond did not have any ownership
13   were locations, two or three as I recall.        13   interest in the Maxine Mine until the
14   The main one, groundwater seeping out            14   last day of 1985 or the first day of
15   beneath the lower dam where you -- or I          15   1986, that prior to that the mine was
16   was able to observe all of the telltale          16   ABC?
17   effects. And there were one or two               17     A. I did understand that the mine
18   places further up the Tributary 1 that we        18   was -- the documents that I reviewed from
19   refer to it as where groundwater was             19   back in the day were generated either for
20   seeping out of the waste rock and had the        20   or by ABC.
21   telltale signs. And then just like               21     Q. Okay.
22   surface water, the follow-up analytical          22     A. But I don't have any knowledge
23   work and the analytical work that was            23   of the ownership history of the mine.
                                            Page 82                                             Page 84
 1   done in the past at PELA, I believe.              1     Q. Okay. So for your purposes, ABC
 2     Q. Okay. All right. Let's look at               2   and Drummond are the same? Is that
 3   the next paragraph. It's your opinion,            3   correct? Essentially, it's the mine --
 4   as I understand your first sentence, that         4   whoever is doing the mining?
 5   the oxidation of sulfide mineral in the           5     A. As those names might come up in
 6   mine waste is the root cause of                   6   my report, correct.
 7   contamination that you reference. What            7     Q. Okay. So with that
 8   is the basis for that statement?                  8   clarification, certain measures were
 9     A. The basis of the statement would             9   implemented. The first one you list is
10   be both my experience that sulfide is the        10   "grading and capping a small portion of
11   root cause of acidification. And the, I          11   the surface of the GOB pile."
12   guess over the years of practice, I was          12         What do you mean by "small
13   generally aware that the rocks associated        13   portion"? Do you have an estimate as to
14   with the coal deposits in the formations         14   how much or what you're referring to
15   in the eastern U.S. were susceptible.            15   there?
16     Q. Okay.                                       16     A. Well, there's diagrams of it
17     A. Because they had the sulfides in            17   certainly in the aquilogic report.
18   the rock and because the carbonate               18     Q. Okay.
19   concentrations in the rock were                  19     A. But the operating company
20   relatively low, it's net acidic.                 20   referred to it as the post-law area.
21     Q. Okay.                                       21     Q. Okay.
22     A. So the culprit is almost                    22     A. So that's the area I'm talking
23   certainly sulfide minerals                       23   about
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                                          Page 85                                               Page 87
 1     Q. I understand. What is your                 1   difference between pre-law and post-law
 2   understanding of the distinction between        2   areas influence your plan for the site in
 3   pre-law and post-law?                           3   any way?
 4     A. My understanding is that prior             4      A. In terms of the law, no. In
 5   to a date, that the materials that ABC          5   terms of what they did, yes.
 6   had placed in the GOB pile occurred prior       6      Q. Okay. Can you explain to me
 7   to a law that was promulgated federally         7   what you mean there?
 8   and then maybe adopted --                       8      A. So I'll explain the "yes" part.
 9     Q. Okay.                                      9   So it was -- it was clear to me that by
10     A. -- statewide.                             10   grading and capping the slopes of the
11     Q. All right.                                11   mine waste, they stabilized that waste.
12     A. That in their view somehow                12   It was also clear that the same couldn't
13   changed the obligations that they may          13   be said for the drainage courses in that
14   have had. And so they treated those two        14   -- the area that was capped and graded.
15   areas separately. And the area they            15   There's places where the Tributary 1
16   capped would have been a reflection of         16   either flows adjacent to it or there's a
17   the area where mine waste had been placed      17   drainage course that flows through it or
18   after that date.                               18   adjacent to it. And there were areas, as
19     Q. Okay.                                     19   I stated in my report, where the flowing
20     A. And I didn't see any information          20   water had eroded through the cap. But
21   that led me to understand how they             21   outside of those areas, the cap was
22   determined where they placed stuff and         22   effective.
23   when. That wasn't in the record, how           23      Q. Okay.
                                          Page 86                                               Page 88
 1   they determined that boundary.                  1        MR. BROCK: The cap was what?
 2     Q. Okay. Did you not see                      2        THE WITNESS: Effective.
 3   documents, including communications             3     Q. Am I correct that you do not
 4   between ABC and various regulatory              4   intend to offer an opinion regarding
 5   entities, indicating changes that needed        5   whether the different means of handling
 6   to be made to comply with a change in the       6   material, GOB, at the site, by capping or
 7   law?                                            7   not capping it, by pre-law area versus
 8     A. Yeah. There were documents in              8   post-law area, was done compliant with
 9   the record that I reviewed that were            9   the particular law in effect at the time?
10   regulatory correspondences back and forth      10     A. You're correct.
11   on issues like this, yes.                      11     Q. Okay. All right. If you will
12     Q. Okay.                                     12   please turn on to page ES-2. We're
13     A. I couldn't tell whether they              13   continuing the list of bullets about
14   were a complete selection or the ones          14   mitigation efforts. Do you know whether
15   that we continue to have.                      15   the activity of constructing dams and
16     Q. I understand.                             16   sedimentation basins within the stream
17     A. It would appear to me as if they          17   course of Tributary 1 was in compliance
18   were, at least the ones that I had an          18   with the law at the time it was done?
19   opportunity to review, were the complete       19     A. I don't.
20   record, because there would carry on           20     Q. Okay. Yeah, that's not
21   discussions from things that had happened      21   something within the scope of your
22   previously.                                    22   opinion; right?
23     Q Okay All right Did the                     23     A Correct
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                                           Page 89                                               Page 91
 1     Q. All right. And similarly, you               1     Q. Okay.
 2   don't know whether that action was taken         2     A. They're a necessary part of
 3   at the direction of regulatory                   3   restoration.
 4   authorities, do you?                             4     Q. All right. And would you agree
 5     A. I don't know.                               5   that vegetative cover is a necessary part
 6     Q. Okay.                                       6   of restoration of the site?
 7     A. I would -- so there's inferences            7     A. Vegetative cover that
 8   in the documents that I reviewed that the        8   effectively reduces erosion, yes.
 9   idea or the concept was one that was             9     Q. Okay.
10   developed at ABC and by ABC's consultants       10     A. And enhances evapotranspiration,
11   and presented to the regulators as              11   yes.
12   opposed to the regulators saying thou           12     Q. Okay. All right. I understand
13   shalt do that. So it's something that I         13   from your report, and I'm looking at the
14   inferred.                                       14   next section of your executive summary,
15     Q. Okay.                                      15   that it's your opinion that those
16     A. And I don't think the record               16   measures that were taken are no longer
17   is -- you know, I think the record, if          17   effective in mitigating what you defined
18   you were to interpret it, would say that        18   as contamination. Right? That's your
19   the idea for the sedimentation ponds and        19   opinion.
20   dams came from the operator, not the            20     A. My opinion is -- state that
21   government.                                     21   again, please? Sorry.
22     Q. Right. You don't know whether              22     Q. "These measures are no longer
23   you've seen the entire record, do you?          23   effective in mitigating the above-noted
                                           Page 90                                               Page 92
 1     A. No. No.                                     1   contamination."
 2     Q. Okay.                                       2     A. Correct.
 3     A. And it's possible that that                 3     Q. All right. Your opinion
 4   wasn't the case.                                 4   continues to say, they were "likely never
 5     Q. Okay.                                       5   effective," and then you give some
 6     A. One of the things that --                   6   reasons. Okay. So, let's look at those.
 7         MR. BROCK: Wait a minute. Just             7         Would you agree with me that
 8   let him ask a question.                          8   "likely" is a word that reflects
 9         THE WITNESS: Okay. It was a.               9   speculation as opposed to knowledge?
10     Q. Here's my question. What were              10     A. I would say in this case it's a
11   you about to tell us?                           11   reasonable deduction.
12     A. I was just going to clarify why            12     Q. Okay.
13   I bring up the basins and the dams in my        13     A. I would not use the word
14   report.                                         14   "speculation."
15     Q. Okay.                                      15     Q. All right. And is the basis for
16     A. Is that regardless of what we do           16   your deduction the four bullet points
17   to restore this site, replicating               17   that you set out below?
18   something like that is necessary to             18     A. Yes, it is.
19   complete the works to associate with            19     Q. All right. Your plan for the
20   effective restoration.                          20   site would involve deforestation;
21     Q. Okay.                                      21   correct?
22     A. That's why I'm discussing those            22     A. Correct.
23   things in my report                             23     Q And it would involve excavation
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 1   of about two and a half million cubic             1   things.
 2   yards of material; right?                         2     Q. Your next bullet point is
 3     A. I believe that aquilogic updated             3   "control of sediment during excavation
 4   that estimate. And it's, as per the               4   and surface reclamation." That sounds
 5   rebuttal report --                                5   like you've kind of already started
 6     Q. Okay.                                        6   explaining that.
 7     A. -- it's more like two million.               7     A. Yeah. They're kind of
 8     Q. All right. Two million cubic                 8   different, different ways of looking at.
 9   yards, whatever their --                          9   One is controlling the source, one is
10     A. Yes.                                        10   controlling the release.
11     Q. -- number is. You also indicate             11     Q. Okay. So, what would be some
12   that this deforestation and excavation           12   examples of bullet point two?
13   plan would require design and                    13     A. Same, same examples.
14   implementation of components that                14     Q. All right. Let's look at the
15   minimize erosion and pollution transport         15   third bullet point, "reclamation of the
16   during excavation. Correct?                      16   exposed original ground surface in a
17     A. Correct.                                    17   manner that conforms to the surrounding
18     Q. All right. What measures do you             18   landscape"?
19   think would be implemented that would            19     A. Yes.
20   have the effect that you believe needs to        20     Q. Can you elaborate on what you
21   be put in place?                                 21   mean by that, please.
22     A. For example, reconstructing the             22     A. That's a reclamation objective,
23   sedimentation basin. That's a very               23   to re-create a landscape that's similar
                                            Page 94                                              Page 96
 1   common approach to controlling sediment           1   to and conforms with the pre-disturbance
 2   runoff from a large mining area.                  2   landscape. If one were excavating
 3     Q. Okay.                                        3   material, that is the outcome you want to
 4     A. The -- also control and                      4   look for.
 5   treatment of contaminated groundwater and         5     Q. Okay.
 6   surface water during the period of time           6     A. You wouldn't just leave the bare
 7   where it remains contaminated up until            7   ground behind.
 8   the time when the materials are removed.          8     Q. All right. Your next point is
 9     Q. All right.                                   9   "treatment and monitoring of contaminated
10     A. Those are two examples. There's             10   surface and ground water." So, what
11   also implementing practices at the               11   would be components of that practice?
12   excavation that minimize the tendency for        12     A. Up until the time that the waste
13   soils to be eroded and be transported by         13   is removed, any water that comes in
14   water.                                           14   contact with that waste, be it surface
15     Q. Okay.                                       15   water, groundwater, will be susceptible
16     A. Minimizing the work area, not               16   to the drainage and the issues that are
17   working during super rainy conditions,           17   discussed there in terms of water
18   things like that.                                18   quality. So it would be necessary to
19     Q. Okay. Anything else?                        19   collect that water as best as one could.
20     A. Those would be the main                     20   You likely couldn't get every drop, but
21   examples.                                        21   could get by far most of it, and somehow
22     Q. Okay.                                       22   neutralize it or treat it so it didn't
23     A There might be other minor                   23   have those polluting characteristics when
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 1   it was released to the Locust Fork.               1   manage-in-place option can be effective.
 2      Q. Okay. And your final point is               2   It just needs to include the components
 3   "safe containment of the mine waste in            3   that I have stated in my rebuttal report.
 4   its ultimate point of disposal." So               4   It needs to have stabilization of the
 5   again, we're talking about mine waste             5   ground surface, it needs to make sure
 6   being rock, soil, coal residue?                   6   that the tributary is no longer running
 7      A. Yeah. Entrained water.                      7   through and within mine waste and running
 8      Q. Entrained water. And what do                8   through in mine waste. It needs to
 9   you think would constitute safe                   9   account for the mine waste that's on the
10   containment of the mine waste?                   10   east side on that very steep slope going
11      A. There would be two potentially             11   down into the Locust Fork, where it
12   viable approaches.                               12   ravels down into the river. So it
13      Q. Okay.                                      13   describes what I see as a complete
14      A. One would be to mix in crushed             14   program for restoration in place using a
15   limestone, for example, that could               15   capping and draining philosophy, similar
16   neutralize the acid rock drainage                16   to the one that was employed at the --
17   immediately upon it occurring so, in             17   for the post-law area, as it's referred
18   essence, it doesn't occur. So containing         18   to.
19   it as you might contain a conventional           19      Q. Thank you for clarifying that.
20   landfill with a liner and leaching,              20         Do you believe there is any
21   collection, and water treatment.                 21   impact to the Locust Fork by any
22      Q. Okay.                                      22   drainage, storm water, any groundwater
23      A. So those are two                           23   migration or seepage, at all?
                                            Page 98                                           Page 100
 1   conceptual-level philosophies that could          1     A. Absolutely.
 2   be applied, and both are applied in               2     Q. All right. What impact do you
 3   mining.                                           3   believe exists?
 4      Q. Okay. I understand your opinion             4     A. There's three forms of impact
 5   as reflected throughout your reports to           5   that occur in a number of areas.
 6   be that while the deforestation and               6     Q. Okay.
 7   excavation and eventual reclamation               7     A. The first is that the mine waste
 8   approach is not the only approach, that           8   is eroded, is being eroded and is being
 9   any manage-in-place option would not be           9   transported I think I used the word
10   sufficient?                                      10   unabated, meaning there's no controls in
11      A. No, that's not true.                       11   place to prevent it from happening. It
12      Q. Okay. Please explain to me what            12   continues to happen. And that mine waste
13   it is, what your opinion is.                     13   is being deposited in the Locust Fork,
14      A. First of all, because we need to           14   and you can see it with ERT, and you can
15   stabilize the ground surface to prevent          15   see it with the sampling that's been
16   erosion, which I see as the most                 16   done.
17   significant challenge at Maxine, clearing        17         And the Tributary 1, when it
18   would be required. So clearing the trees         18   flows, contains dissolved contamination,
19   to prepare the ground surface, just like         19   pollution as well, primarily in the form
20   it was required when the pile was put            20   of heavy metals dissolved into the water
21   there in the first place.                        21   and low pH, high acidity. And similar to
22          There is a possibility -- or as           22   the surface water, the groundwater seeps
23   I said in my rebuttal report, the                23   into the Locust Fork on a continuous
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 1   basis. And it contains high acidity and          1     A. I've read the transcript, draft
 2   high concentrations of dissolved heavy           2   transcript from Dr. Dimova.
 3   metals.                                          3     Q. Okay. Have you read any other
 4        So those three ways.                        4   depositions?
 5     Q. Okay. All right. Let me ask                 5     A. No.
 6   you about each of those in turn. Is the          6     Q. Okay. Why did you read Dr.
 7   ERT that you are indicating shows the            7   Dimova's deposition?
 8   erosion continuing unabated, the                 8     A. Because it was provided to me.
 9   river-based ERT work that was done on            9     Q. Okay. Do you recall Dr. Dimova
10   August 19, 2017, by the Advisian folks          10   testifying about the source of what she
11   and on behalf of Mr. Brown?                     11   described as gravel or GOB?
12     A. Correct. It shows the                      12     A. It was clear to me that she used
13   accumulation. You interpret geophysics.         13   the term "not natural." The -- we've
14     Q. Okay.                                      14   never met, so.
15     A. So the interpretation is that              15     Q. That's not part of the question.
16   the surface adjacent to the outlet or the       16     A. No, I know. But it's part of my
17   confluence of Tributary 1 and Locust            17   answer. So I don't know if the way she
18   Fork, the bottom surface is covered with        18   would be using terms would be consistent
19   mine waste.                                     19   with the way I would use terms. And
20     Q. Okay.                                      20   because, clearly, all materials in the
21     A. And that's a reasonable                    21   world are natural, there's not -- well, I
22   deduction based on the flow direction and       22   guess all rock materials. We make
23   the erosion and sediment transport that's       23   chemicals from that. But all of the
                                          Page 102                                             Page 104
 1   clearly evident in the lower portions of         1   substances we're talking about are
 2   that tributary.                                  2   natural. I would interpret from what she
 3     Q. Okay.                                       3   said is that the materials that she
 4     A. The additional work was done by             4   sampled didn't conform with what she
 5   Dimova that essentially replicates the           5   would have expected to be a natural river
 6   ERT signature. But it also included              6   bottom in the Locust Fork.
 7   sampling that, you know, all of the              7     Q. Okay.
 8   parameters that she sampled for are              8     A. That's what I gleaned from her
 9   consistent with the ones that are in the         9   testimony.
10   mine waste: concentrations of arsenic,          10     Q. I understand. Thank you for
11   concentrations of iron, size                    11   your answer. We would agree that Dr.
12   distributions, those sorts of things.           12   Dimova's words speak for themselves,
13     Q. Are you aware that Dr. Dimova              13   though; right?
14   testified that she could not state the          14     A. Fine.
15   source of what she called gravel but was        15         MR. BROCK: We agree she was not
16   told was GOB in the river?                      16   asked to make an assessment or to make
17         MR. BROCK: I'll object to the             17   that connection. As she testified.
18   form of the question, to the                    18         MR. DAVIS: Okay. I think we
19   characterization of her testimony.              19   agree that her testimony is her
20         MR. DAVIS: I agree the                    20   testimony.
21   testimony speaks for itself.                    21     Q. You don't have to answer. It's
22     Q. But are you aware of what Dr.              22   not really a question.
23   Dimova testified on the issue?                  23         Okay Let's talk now about the
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 1   sampling. I'm just trying to make sure I       1   supported by the sampling that was done
 2   understand what underlies each of your         2   by Dimova that verified that it has the
 3   answers. You've explained the ERT aspect       3   same chemical characteristics, the same
 4   of your statement that the erosion             4   composition as the mine waste.
 5   continues unabated. You also included          5     Q. Okay. Thank you.
 6   sampling as part of your basis for the         6     A. So -- so.
 7   erosion unabated opinion.                      7     Q. Please continue.
 8         So my question here is, what             8     A. No. That answers. That's the
 9   sampling specifically do you have              9   premise. So perhaps you could ask the
10   reference to?                                 10   question again. Because the premise of
11     A. So I won't -- the basis of your          11   your question was.
12   question wasn't quite right.                  12     Q. Well, I think you've clarified
13     Q. Okay.                                    13   your statement, and I don't have any
14     A. So.                                      14   further question.
15     Q. Tell me what --                          15     A. Okay.
16     A. I'll try to clarify what I               16     Q. Thank you for the clarification.
17   earlier said.                                 17         All right. And you had -- that
18     Q. Okay.                                    18   helps me with the follow-up. You had an
19     A. Because I don't think I came             19   opinion about the surface water. Can you
20   across correctly.                             20   tell me once again so we're clear what
21     Q. All right.                               21   that is and explain the basis for it.
22     A. My opinion of the erosion                22     A. The surface water where? Sorry.
23   continuing unabated is not the result of      23   To clarify.
                                        Page 106                                            Page 108
 1   the sampling or the ERT.                       1     Q. Well, I'm just trying to get the
 2      Q. Okay.                                    2   answer. You said that you had, I
 3      A. It is from observing the erosion         3   believe, there was evidence of impact to
 4   in the GOB pile, the evidence of erosion,      4   the Locust Fork and the Black Warrior
 5   observing that sediment has completely         5   River from water and/or GOB from the
 6   filled and overwhelmed the former basins       6   Maxine Mine site. You've now told us --
 7   and dams, and therefore, those, those          7     A. -- about the GOB.
 8   structures are no longer functional, and       8     Q. -- about the GOB, about the
 9   there is nothing to stop erosion               9   erosion. So now I'm trying to get to the
10   tomorrow, for example, from occurring and     10   surface water and groundwater components
11   transporting the mine waste into the          11   of that opinion and what the basis for
12   Locust Fork.                                  12   each is. Does that help?
13         So that's the basis of my               13     A. Yes.
14   conclusion that erosion is continuing         14     Q. Okay.
15   unabated.                                     15     A. So the basis of the opinion on
16         Now, I've looked at the ERT data        16   surface water is observations that I've
17   in the river, both the Dimova report,         17   made during my site inspection where I
18   that included in the Dr. Dimova report        18   could see the surface water in Tributary
19   and that completed at the time I was at       19   1 was acidic. The flows that were
20   the site, as providing evidence that the      20   occurring in Tributary 1 were acidic. I
21   mine waste is accumulating and has            21   realize you're asking me about the Locust
22   accumulated in the Locust Fork. And that      22   Fork. But the Tributary 1 drains into
23   ERT interpretation was subsequently           23   the Locust Fork, so at the point where
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 1   that water drained into the Locust Fork,         1   seepage that's occurring downgradient of
 2   you could see the acidic water from              2   the lower dam. In addition to that,
 3   Tributary 1.                                     3   there's places along Tributary 1 where
 4         There were also places along the           4   groundwater is seeping out of the GOB
 5   west bank of the Locust Fork upstream of         5   pile into Tributary 1 groundwater and
 6   that Tributary 1 confluence but where            6   becoming surface water. And there's also
 7   mine waste had ravelled down the hill, so        7   evidence of groundwater seepage, smaller
 8   to speak, accumulated on the banks of the        8   areas along the west bank upstream of the
 9   Locust Fork, and there was also surface          9   Tributary 1 confluence.
10   water percolating through that material.        10     Q. Okay. Now, with regard to the
11   It was clearly acidic, and it was               11   seepage below the dam, I understand that
12   draining into the Locust Fork.                  12   you're saying that it exists. What I'm
13      Q. Okay. Now, I want to make sure            13   trying to understand is -- and maybe
14   that I understand what you're saying.           14   we're talking about two different places.
15   You're saying that you could see that the       15   I'm understanding you to be talking about
16   water was acidic. Is the visual evidence        16   groundwater coming out below the dam
17   of that the characteristics that you've         17   right at the river, what sometimes has
18   previously described?                           18   been referred to as Dam 1, as the dam at
19      A. Correct.                                  19   the river, and various --
20      Q. Okay.                                     20     A. Yeah, lower dam is what I would
21      A. And -- and then subsequent                21   say.
22   sampling corroborated that.                     22     Q. Lower dam, okay. Is there
23      Q. Okay.                                     23   evidence of groundwater seepage there?
                                          Page 110                                             Page 112
 1     A. Visual impression.                          1     A. Yes. And so --
 2     Q. All right. Anything else on the             2     Q. Okay. How do we know -- I just
 3   surface water portion of that?                   3   want to know what you're talking about,
 4     A. No.                                         4   what the --
 5     Q. Now, how about groundwater?                 5     A. Yeah. So the observational
 6     A. Groundwater, specifically with              6   evidence is below the dam you could see
 7   regard to releases to the Locust Fork,           7   water seeping out of the ground above the
 8   was evident to me at the -- downstream of        8   level of the Locust Fork. The materials
 9   that lower dam, where a fairly high              9   continue to be permeable beneath that
10   proportion of the water that's seeping          10   level, which you can't see because it's
11   into the Locust Fork is groundwater             11   below the water level. But one can
12   seepage.                                        12   reasonably deduce that that seepage is
13     Q. All right.                                 13   occurring. And it's also supported by
14     A. So it commingles with the --               14   the ERT data that shows that that zone of
15   with the surface water. But because the         15   impact continues two or three meters
16   materials are granular and permeable            16   below ground surface at a level lower
17   throughout the full depth, you can              17   than the Locust Fork. So that's an
18   reasonably conclude that that seepage of        18   interpretive element to yes, this is the
19   groundwater is occurring beneath the            19   evidence that the groundwater is seeping
20   water level of the Locust Fork.                 20   into the Locust Fork.
21     Q. Okay. What evidence of                     21     Q. Okay. Now, with regard to the
22   groundwater seepage did you see?                22   upstream of the lower dam, back up
23     A What I just said is the -- the              23   Tributary 1, as Riverkeeper calls it, you
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 1   referenced seepage out of the GOB. Did          1   In the course of reviewing materials and
 2   you also see any seepage out of bedrock?        2   making your site observations during your
 3     A. Not that I recall.                         3   site visit and reviewing the data
 4     Q. Do you know whether what you saw           4   collected through the sampling and
 5   that you attribute to be seepage out of         5   analysis, be it soil, water in the river,
 6   the GOB pile is actually out of bedrock?        6   surface water at the site, did you reach
 7     A. I would think that it isn't.               7   any opinions that were not supportive of
 8   The ground surface and the bedrock are          8   claims you understand to be being made by
 9   relatively impermeable. The mine waste          9   the plaintiff, Riverkeeper, in the case?
10   is relatively permeable. So the location       10     A. I think the answer to that
11   where groundwater tends to accumulate is       11   question is no. It's a long question. I
12   immediately above that permeability            12   think I understand.
13   contrast above the lower permeable -- the      13     Q. I understand.
14   lower layer, lower impermeable layer,          14     A. The --
15   which is the bedrock and natural soils,        15         MR. BROCK: You answered the
16   and above within the mine waste.               16   question. Let him ask another one.
17         And this is the same conclusion          17         THE WITNESS: Okay.
18   that the folks -- that PELA made when          18     Q. He wants me to work for my --
19   they were doing their initial groundwater      19         MR. BROCK: When you say, "The
20   investigations in the post-law and             20   answer is no," that's the end of the
21   pre-law areas, as they referred to it.         21   answer.
22     Q. Okay. All right. If you will,             22     Q. Yeah. And if it makes you feel
23   please, look on page 1.1 of your October       23   better, we go through this with every
                                         Page 114                                            Page 116
 1   2017 report. This is -- it continues to         1   witness on both sides of the aisle.
 2   be Exhibit 3. All right. You obviously          2      A. My only hesitance was I was
 3   understand, based on your introduction,         3   going ask for it to be repeated. I
 4   that Riverkeeper is bringing claims under       4   wasn't going to --
 5   the Clean Water Act and the Resource            5         MR. DAVIS: Will you repeat the
 6   Conservation and Recovery Act; right?           6   question for the witness?
 7     A. That's what I understand.                  7      A. Because I want to make sure I
 8     Q. Okay. What is your                         8   fully understood it.
 9   understanding -- and I'm not asking you         9        (Requested portion read.)
10   for a legal opinion, just your personal        10      A. Yeah. I'm staying with my
11   understanding -- of what the Clean Water       11   answer. Thanks.
12   Act claim or claims are?                       12      Q. Okay. Yeah.
13     A. My understanding is that the              13         MR. BROCK: Off the record.
14   claim is that pollutants are being             14             (Break taken.)
15   discharged into the waters of the United       15      Q. (By Mr. Davis) All right. I
16   States. I think there's an acronym to          16   understand from your report, Mr. Johnson,
17   that effect.                                   17   that your rate for your report
18     Q. Okay. All right. And what do              18   preparation is $200 an hour; right?
19   you understand to be the claim under the       19      A. Yes.
20   Resource Conservation and Recovery Act?        20      Q. $400 an hour for depositions and
21     A. Similar. "I don't know" is the            21   trials; correct?
22   answer to your question.                       22      A. Correct.
23     Q Okay Fair enough All right                 23      Q All right Do you charge the
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 1   same hourly rate of $200 an hour for              1   the list; right? The list of what the
 2   field work, like the site visit, or was           2   contamination includes?
 3   that another?                                     3     A. Is that a question? Sorry, yes.
 4     A. For the work that I've done on               4     Q. It was intended to be, but. Let
 5   this project.                                     5   me make sure it's a specific question.
 6     Q. Okay.                                        6         The contamination that you are
 7     A. Yes.                                         7   speaking of includes, as your last
 8     Q. All right. You haven't                       8   sentence indicates, acidic water, TDS,
 9   testified in trial or in an                       9   high metals concentration, "relative to
10   administrative hearing or a deposition in        10   relevant water quality standards and
11   the past four years?                             11   background concentrations." Right?
12     A. Correct.                                    12     A. Correct.
13     Q. Okay. All right. Do you have                13     Q. What are the relevant water
14   an estimate of how many hours you have           14   quality standards?
15   spent working on this case? And by that          15     A. I relied on aquilogic to
16   I mean total. You know, site visit,              16   evaluate -- to determine those.
17   anything that you've billed Riverkeeper          17     Q. All right. If aquilogic is
18   for.                                             18   incorrect about the relevant water
19     A. My estimate would be less than              19   quality standards, then would any
20   200 hours but close to 200 hours.                20   conclusion that you have that's based on
21     Q. Okay. All right. If you will,               21   those aquilogic decisions --
22   please, look at page 3.1 under "Project          22     A. Specific -- oh, sorry.
23   Introduction" and the heading, "3.1              23     Q. -- also be incorrect?
                                           Page 118                                             Page 120
 1   Background." And looking at the second            1     A. Specific conclusions regarding
 2   sentence in the second paragraph and              2   the specific errors would change. But
 3   specifically at the word "flowing,"               3   the restoration strategy and
 4   "Surface and ground water contaminated by         4   recommendations wouldn't.
 5   the GOB Pile is flowing into the Locust           5     Q. Would not? Okay. All right.
 6   Fork." Now, I interpret the word                  6   And there's also a reference to, at the
 7   "flowing" to mean a constant flow. Is             7   end of your sentence to background
 8   that how you intend it to be used?                8   concentrations. What are the background
 9     A. It was flowing the day I was at              9   concentrations that you have reference
10   the site. And I believe in my report I           10   to?
11   referred to it as an intermittent stream.        11     A. The background concentrations
12   So the implication there is that it              12   refer to perhaps water in the Locust Fork
13   doesn't flow on a continuous basis.              13   upstream of the points -- specifically in
14     Q. All right. And with regard to               14   my report, more specifically, we
15   the phrase "contaminated by the GOB              15   evaluated the concentrations of some of
16   Pile," what is the contamination?                16   the metals relative to background
17     A. The contamination is the                    17   concentrations published for this area of
18   suspended sediments that consist of the          18   Alabama.
19   mine waste, the acidity, and then the            19     Q. Okay. And those background
20   high concentrations of some of the heavy         20   concentrations are referenced
21   metals.                                          21   specifically in your report; right?
22     Q. Okay. I see that's how you                  22     A. Correct.
23   conclude the paragraph, so that would be         23     Q Okay All right If you will
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 1   --                                                1     A. My experience, my understanding
 2     A. Just to clarify that last                    2   of mine rules and mine waste management
 3   answer.                                           3   rules in a general sense.
 4     Q. Certainly.                                   4     Q. Okay. What of your experience
 5     A. They're also referenced in other             5   informs your judgment there?
 6   experts' reports.                                 6     A. Every mine site that I've ever
 7     Q. Okay.                                        7   worked on had a requirement to manage the
 8     A. So for example, the background               8   mine waste such that it didn't have an
 9   water quality in the Locust Fork is not           9   adverse effect on the waters that were
10   referenced in my report, but it is               10   released from it.
11   referenced in other experts' reports.            11     Q. Okay. But you've told us that
12     Q. And you in turn cite those                  12   the only site in Alabama you've worked on
13   reports --                                       13   is the Maxine site; correct?
14     A. Yes.                                        14     A. Correct.
15     Q. -- as part of yours? Okay. I                15     Q. All right. What mine rules do
16   understand you.                                  16   you have reference to?
17         All right. The third paragraph,            17     A. Mine rules in general? Sorry.
18   I understand the first sentence to mean          18   I want to understand your question.
19   that the mine waste that comprises the           19     Q. Yeah. I thought that was part
20   GOB pile is the source of the                    20   of your answer. You mentioned experience
21   contamination that you've described              21   and mine rules.
22   above; right?                                    22     A. So in the context of my answer.
23     A. Yes.                                        23     Q. Yes.
                                           Page 122                                            Page 124
 1     Q. All right. And once again, just              1     A. Yes.
 2   so the record is clear, the mine waste is         2     Q. That's what I'm asking about.
 3   the geologic overburden, the rock,                3     A. The mine rules that I'm most
 4   minerals, the coal fragments to the               4   familiar with are in western Canada,
 5   extent they were not removed, water,              5   where I've done most of my work.
 6   perhaps some vegetative material of some          6     Q. Okay. Look for me under section
 7   kind?                                             7   3.2 in the second paragraph. And I'm
 8     A. Yes. I didn't see vegetative                 8   looking at the second sentence, which
 9   material --                                       9   references "the results of a sampling and
10     Q. Okay.                                       10   analytical program that was completed by
11     A. -- in the mine waste, but that's            11   Burgess Environmental as part of a more
12   possible.                                        12   detailed investigation" by aquilogic.
13     Q. Okay. But that's what it                    13         What exactly is the program that
14   consists of.                                     14   was completed by Burgess Environmental?
15         All right. Your next sentence              15     A. The sampling of the mine waste
16   in that paragraph speaks of a failure to         16   at various locations throughout the GOB
17   properly manage the GOB pile. Is it your         17   pile.
18   belief that there was a legal duty on the        18     Q. Soil sampling?
19   part of ABC or Drummond to manage the GOB        19     A. Mine waste sampling.
20   pile?                                            20     Q. Okay. Where is that sampling
21     A. That would be my belief, yes.               21   reflected?
22     Q. All right. What is that based               22     A. There's ten sample locations
23   on?                                              23   that are shown on a figure I'll find it
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 1   for you if you like.                             1   you will on page 3-2, still on section
 2     Q. Okay.                                       2   3.2. All right. The last full paragraph
 3     A. 5.1, I think, but.                          3   of section 3., 2 second sentence. "The
 4     Q. Is it perhaps 5.4?                          4   program for removal is developed in
 5     A. 5.4, yes.                                   5   sufficient detail below to validate
 6     Q. All right. All right. And                   6   methodology and the viability of this
 7   these -- 5.4 is labeled, or is titled            7   restoration option."
 8   "Mine Waste, Groundwater and Surface             8         Did I read that correctly?
 9   Water Sampling Locations." Are the mine          9     A. Yes.
10   waste sampling locations indicated on           10     Q. All right. I understand that
11   your Figure 5.4 the same soil boring            11   the elaboration follows. What I want to
12   samples that are reflected in a similar         12   focus on here and make sure I understand
13   figure in the aquilogic report?                 13   is the word "validate." How does the --
14     A. I believe so.                              14   how is your program for removal validated
15     Q. Here's what I'm trying to make             15   by what follows in your report? Or let
16   sure I understand. I want to make sure          16   me strike that question and start again.
17   that we know what soil samplings and mine       17         What do you mean by the word
18   waste samplings were taken. And if there        18   "validate" in that statement?
19   are more than are reflected on 5.4 --           19     A. What I mean by that is that I'm
20   that's my question. Are there any other         20   proposing a restoration option that is
21   soil or mine waste samples that were            21   viable to implement.
22   taken other than what are reflected on          22     Q. And what makes it viable to
23   Figure 5.4?                                     23   implement?
                                          Page 126                                            Page 128
 1     A. To my knowledge, no, and not by             1     A. Well, complete removal is one
 2   me.                                              2   that is I would say fairly
 3     Q. Okay. And would the ones that               3   straightforward and easy to conceive and
 4   are reflected on Figure 5.4 to your              4   can be achieved. So in that sense, in my
 5   October 2017 report be the ones that were        5   opinion, it is viable.
 6   taken during joint sampling events in            6     Q. Have you done any analysis with
 7   August 2018?                                     7   regard to whether it is legally
 8     A. Yes.                                        8   permissible to implement the option that
 9     Q. Okay.                                       9   you proposed, or are you leaving that to
10        MR. BROCK: I think it's 2017.              10   the lawyers for Black Warrior
11        THE WITNESS: Sorry. Yes.                   11   Riverkeeper?
12        MR. DAVIS: What did I say?                 12     A. I wouldn't leave it to the
13        MR. BROCK: You said '18.                   13   lawyers of Black -- the Riverkeeper and
14        MR. DAVIS: I'm sorry. Yeah.                14   SCLC. But in the places that I've
15   Thank you for correcting me. We've got          15   worked, it's -- and there's been many of
16   to have a good record or it will be very        16   them, the removal option is typically
17   confusing, so thank you very much.              17   preferred by the regulators. And it's
18     Q. (By Mr. Davis) Okay. Any other             18   been approvable. So it's not a
19   component to the sampling and analytical        19   restoration strategy that in my mind
20   program that was completed by Burgess           20   would be prevented. Or in my experience,
21   Environmental?                                  21   probably is a better way of putting it.
22     A. No.                                        22     Q. On any site that you've worked
23     Q Okay All right look for me if               23   on in the United States, has any
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 1   regulatory entity approved the                   1   activity. It occurs with forestry in
 2   deforestation of 175 acres and authorized        2   Alabama, for example, on a fairly large
 3   the removal of two million cubic yards of        3   scale.
 4   material?                                        4      Q. Okay. Your testimony is that
 5     A. I have not worked on a job with             5   clear-cutting 175 acres is a minor
 6   exactly this -- those criteria that you          6   detail. Is that correct?
 7   just established, or you just stated.            7        MR. BROCK: Object to the form.
 8   I've never seen clearing be an impediment        8        You can answer.
 9   to any of the restoration strategies that        9        THE WITNESS: Okay. I'm not
10   I've proposed.                                  10   sure what protocol is to whether I'm
11     Q. It's your understanding that               11   meant to answer when you --
12   Black Warrior Riverkeeper is an                 12        MR. BROCK: Yeah. I'm objecting
13   organization that advocates                     13   to just some aspect of the question that
14   deforestation?                                  14   I thought was improper. But you can go
15         MR. BROCK: I object to the                15   ahead and answer to the extent you
16   form.                                           16   understand it.
17     Q. Do you have an understanding?              17      A. You know, my experience -- or in
18     A. No.                                        18   my view, the clearing of this area is not
19     Q. Okay. What is your                         19   a significant step that would result in
20   understanding of what the objectives as         20   adverse environmental impact. It's done
21   an organization of Black Warrior                21   by mining companies all the time when
22   Riverkeeper are, if you have any?               22   they're opening up areas. It's done by
23     A. On this particular project,                23   forest companies all the time. It's done
                                          Page 130                                              Page 132
 1   they've asked me to evaluate restoration         1   by agricultural activities all of the
 2   options that would prevent the ongoing           2   time. And there's every reason to
 3   pollution of the Locust Fork. That seems         3   believe that after this is excavated and
 4   to be -- or that, in my experience               4   restored -- excavated and restored or
 5   working with SELC and Riverkeeper, is            5   capped in place and restored, that
 6   their sole objective.                            6   appropriate vegetation would reestablish.
 7     Q. Okay. Do you know whether Black             7   I mean, Alabama's an excellent place for
 8   Warrior Riverkeeper advocates in favor of        8   reestablishing vegetation.
 9   mining?                                          9     Q. Okay. All right. What analysis
10     A. I don't know.                              10   have you done as to how long it would
11     Q. Do you know whether Black                  11   take to develop what you were describing
12   Warrior Riverkeeper advocates                   12   as appropriate revegetation?
13   clear-cutting of forest?                        13     A. In my experience -- this is not
14     A. The -- Riverkeeper had nothing             14   an analytical process but an
15   to do with the restoration strategy that        15   experience-based process -- that it
16   I'm proposing. The responsible                  16   typically takes between one and three
17   management of this particular mine waste        17   years to reestablish surface vegetation
18   pile, the GOB pile, if it's going to be         18   that's resistant of the erosion, which
19   managed properly, as I've said in my            19   would be the objective here, and also to
20   report, will require the surface to be          20   have natural vegetation. The local folks
21   stabilized. And there's no way to               21   typically determine what the appropriate
22   stabilize it without clearing it. And           22   natural vegetation is. You don't want to
23   clearing it is a relatively minor               23   reintroduce invasive species, that sort
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 1   of thing.                                        1   reestablished.
 2      Q. Okay. By "local folks," you                2     Q. I'll circle back to my original
 3   would mean the regulatory entities having        3   question, which is, does Black Warrior
 4   jurisdiction over the property and --            4   Riverkeeper support mining? Does it
 5      A. Or an expert that would be                 5   advocate in favor of surface mining?
 6   retained by whomever is doing the work,          6     A. Well, refer back to my previous
 7   yes.                                             7   answer. I don't know.
 8      Q. Do you think any of the work               8        MR. BROCK: You still don't
 9   that you are proposing could be done             9   know?
10   without the oversight and permission of         10        THE WITNESS: No, I still don't
11   whatever bodies of regulators have              11   know.
12   jurisdiction over the Maxine Mine               12        MR. BROCK: Okay.
13   property?                                       13     Q. You should look at the website
14      A. Well, as I stated in my report,           14   one time.
15   I recognize there's a regulatory step of        15        MR. BROCK: Is there mining
16   presenting the plan to the regulators and       16   involved in the case? Anyway, go ahead.
17   then getting that plan accepted. And            17        MR. DAVIS: I'm just trying to
18   there would be a regulatory body, in my         18   understand --
19   view, that would look after the mining          19     A. I'm a bit of a dinosaur. I
20   aspects, the environmental aspects, and         20   don't spend a lot of time surfing
21   then the water aspects.                         21   people's websites.
22      Q. Okay. Do you acknowledge, then,           22     Q. That's fine. And you're not
23   that your deforestation and excavation          23   required to, by any means. I'm just
                                          Page 134                                            Page 136
 1   plan as described in your reports of             1   trying to understand your report. And
 2   October 2017 and April 2018 would have to        2   the distinction between clearing a site
 3   be approved by regulators?                       3   or removing the forest, which is what
 4     A. I'm not sure if clearing is                 4   deforestation is, or trees seems to me to
 5   something that gets approved by                  5   be something that's important to
 6   regulators. I've never used the term             6   understand if you see a distinction. So
 7   "deforestation." And I'm not sure why            7   that's what my questions are. I'm trying
 8   you're using it. But clearing the area           8   to understand what you mean by your
 9   would be a requirement of the work.              9   proposal.
10   Whether or not that is a regulated              10         Can we submit -- and by "we," I
11   activity on its own right, I don't know.        11   mean the parties to this case, can we
12     Q. What is the difference between             12   submit your expert report, as it's
13   clearing of a forest and deforestation?         13   titled, of October 2017 and your rebuttal
14   Is there some distinction?                      14   report of April 2018 to whatever
15     A. Well, there's certainly negative           15   regulatory body has jurisdiction and get
16   connotations and potentially permanent          16   permission to undertake the work that you
17   connotations behind deforestation. I            17   have prescribed?
18   just don't think they apply here.               18      A. Well, my report was not intended
19     Q. Okay.                                      19   for regulatory submission. So I would
20     A. You know. So I suspect, if you             20   think that any plan, presumably the
21   had a forestry client sitting next to           21   obligation of the proponent, would need
22   you, they wouldn't appreciate the use of        22   to be more detailed and design-oriented
23   that term Because the forest can be             23   --
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 1     Q. Okay.                                      1   photograph of the area, and the dashed
 2     A. -- to achieve or obtain the                2   red line is meant to portray the limits,
 3   regulatory acceptance. That would be my         3   as I understand them, of the area that
 4   experience, and that would be my                4   was capped in the '80.
 5   expectation.                                    5     Q. Okay. Is this a figure that you
 6     Q. Okay. I didn't quite hear part             6   prepared? Or is this in the Brown
 7   of the answer.                                  7   report?
 8         MR. DAVIS: Can you read it back           8     A. I think that Brown gave me the
 9   to me?                                          9   limits.
10        (Requested portion read.)                 10     Q. Okay.
11         MR. DAVIS: Thank you.                    11     A. It was -- there are also
12     A. She's far more eloquent than the          12   documents in the record that were
13   two of us.                                     13   produced by ABC that showed it. But I
14     Q. I just do the best I can.                 14   believe that particular depiction is from
15         You agree that substantiating            15   Brown.
16   your proposal would be the obligation of       16     Q. Okay. Your Figure 4-2 is in Mr.
17   the proponent; right?                          17   Brown's report, or he made the image for
18     A. Yes. Once a restoration                   18   you? And I'm just trying to figure out
19   strategy is finalized, it would need to        19   how you got this and whether you did
20   be detailed and would be subject to            20   anything to it yourself.
21   regulatory acceptance. That would be my        21     A. I didn't do anything to it. The
22   expectation.                                   22   boundary was one that I got from
23         MR. DAVIS: All right. It's               23   aquilogic.
                                         Page 138                                             Page 140
 1   noon. Would you like to take a lunch            1     Q. All right. Now Figure 4-3.
 2   break?                                          2   What are we looking at here?
 3         MR. BROCK: Yes.                           3     A. 4-3, I think this is an image
 4            (Break taken.)                         4   that was in one of the topographic maps
 5     Q. (By Mr. Davis) Okay, Mr.                   5   that we had in the record that showed the
 6   Johnson. We'll continue on with your            6   dump outline schematically.
 7   deposition. Will you continue to look           7     Q. Okay. And when you -- what do
 8   with me at Exhibit 3, which is your             8   you understand to be the source of the
 9   October 2017 report, and I am moving into       9   USGS map?
10   the figures now, and I have some               10     A. Just that USGS map, '75.
11   questions on those.                            11     Q. Okay. That was not a very good
12         And I don't have a page number           12   question. Let me try again.
13   for you. The last page number I have is        13     A. Okay.
14   4-5. Okay. It appears that we're on the        14     Q. You made a reference to this was
15   same page. I'm looking at Figure 4-1.          15   a map in the record or something to that
16     A. Correct.                                  16   effect. So I understand that it's a USGS
17     Q. Okay. Is your Figure 4-1 a                17   map, vintage 1975. Where did you get
18   reproduction of a figure in the Anthony        18   this figure?
19   Brown report?                                  19     A. I don't recall exactly, but I
20     A. Yes.                                      20   believe it was the -- in the records that
21     Q. Okay. And let's look at Figure            21   were shared with me by Riverkeeper and
22   4-2. What does Figure 4-2 show us?             22   SELC.
23     A It's a historical aerial                   23     Q Okay Did you make Figure 4-3
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 1   or did Mr. Brown?                               1   was generated in the same way as the
 2     A. The red dashed lines there, I              2   previous one. And it's intended to
 3   would have added to the document.               3   support my overview of the background
 4     Q. Okay. So Figure 4-3 is --                  4   hydrogeology within the bedrock unit
 5     A. The only thing new on that, the            5   that's reported -- or included in my
 6   only thing created for this report on           6   report.
 7   that is the dashed red line.                    7     Q. Okay. On each of 4-4 and 4-5,
 8     Q. Dashed line?                               8   at the bottom of the page, there is the
 9     A. Otherwise, it's an exact                   9   apparent abbreviation "DRN. BY," and then
10   duplicate of the USGS.                         10   what I presume to be initials, "CEK."
11     Q. Okay. Thank you. All right.               11   Does that mean "Drawn by"?
12   Figure 4-4 says "(Drummond, 1982)," but        12     A. Yes. Individual by the name of
13   I'm guessing that perhaps this is an ABC       13   Charles Kreutzweiser.
14   document?                                      14     Q. Okay. Is he an employee of
15     A. Correct, yes.                             15   Burgess Environmental?
16     Q. Okay. What is the significance            16     A. No. He's a contract draftsman
17   of Figure 4-4 to you?                          17   that I use.
18     A. It's simply intended to provide           18     Q. Okay. The next block, the
19   background information on the geologic         19   adjacent block, "APP'D BY: GJ," does that
20   profile in the area.                           20   indicate approved by you?
21     Q. Okay.                                     21     A. Yes.
22     A. And it was taken from one of              22     Q. Okay. And that's true on both
23   those ABC reports. It might have been in       23   documents; right?
                                         Page 142                                               Page 144
 1   the section that was generated by PELA.         1     A. Yes.
 2     Q. Okay.                                      2     Q. All right.
 3     A. But in this case, we needed to             3        Okay. With regard to the
 4   redraft it because the clarity didn't           4   section on site inspection, which is 5.1.
 5   come across. But it's intended to be an         5   And it begins on and ends on page 5-1,
 6   exact duplication of what's in their            6   and it's titled "Site Inspection." You
 7   document.                                       7   with me there?
 8     Q. Okay. And when you say                     8     A. Yes.
 9   redrafted, what do you mean?                    9     Q. Does that section describe the
10     A. I mean we had -- we had to redo           10   entire extent of the site inspection on
11   the labels and redo the image in AutoCAD       11   which your opinions in your report are
12   to make it legible.                            12   based?
13     Q. Okay. It was not a very good              13     A. It summarizes the primary
14   copy? Is that --                               14   elements. It's not intended to be an
15     A. Yeah, correct. Couldn't be                15   exhaustive discussion of all of the
16   photocopied and continue to be legible.        16   things I saw and did on that day.
17     Q. All right. All right. If                  17     Q. Okay. Are there --
18   you'll look at Figure 4-5, please, and         18     A. It would be the primary elements
19   tell us what we are looking at here and        19   from which I have relied upon.
20   what the significance of it is to you.         20     Q. Okay. What is missing?
21     A. There was a section in my                 21     A. Of all the activities that
22   report -- first of all, what you're            22   occurred that day or my observations.
23   looking at is a lithologic profile that        23     Q Anything pertinent to the site
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 1   inspection?                                    1   the more -- some of the analytical-based
 2     A. I don't think there's anything            2   information that supported my
 3   missing that's consequential to my             3   conclusions. So it's meant to focus on
 4   recommendation for restoration.                4   the primary elements that are
 5     Q. Okay.                                     5   observational.
 6     A. But having said that, you know,           6     Q. Okay. All right. Was there
 7   I would have made observations around the      7   anything else you wanted to say?
 8   entire GOB pile, and not all of them are       8     A. No.
 9   documented here.                               9     Q. Okay. Let's move on to the next
10     Q. Okay.                                    10   page, to section 5.2, "Geophysical
11     A. An example might be the seepages         11   Investigation." All right. And I will
12   that I saw around the site. I don't see       12   have a similar series of questions for
13   them described in any detail here. That       13   each of the next sections, just so you
14   would be an example of something that's       14   know kind of what the progression will
15   discussed in other places in my report        15   be. But as to the geophysical
16   but not here.                                 16   investigation, you've related information
17     Q. Okay. And why would it not be            17   here, and the question is, is this the
18   discussed in this section of your report?     18   entire extent of the geophysical
19     A. I tried to keep this section of          19   investigation on which your opinions and
20   the report focused on the primary             20   conclusions are based?
21   elements that led me to my recommendation     21     A. From the perspective at the time
22   for restoration.                              22   I wrote this report, the answer to your
23     Q. Okay. Would it be fair to                23   question is yes.
                                        Page 146                                             Page 148
 1   say -- and if it's not, please let me          1     Q. Okay.
 2   know. Would it be fair to say that the         2     A. Subsequent to writing this
 3   elements that are reflected in this            3   report but prior to writing the rebuttal
 4   section are the ones that are most             4   and prior, obviously, to this session, I
 5   significant for the conclusions and            5   had a chance to look at the results of
 6   opinions that you've put forth in your         6   the geophysics that was completed on
 7   report and that any that are not included      7   behalf of Dr. Dimova.
 8   are inconsequential?                           8     Q. Okay.
 9     A. I don't think I would use the             9     A. And there is nothing different
10   word "inconsequential."                       10   about those results, but they're also
11     Q. Okay. What word would you use?           11   geophysical results that I considered, or
12     A. But I would agree with the first         12   I'm currently considering.
13   half of your question, that they are the      13     Q. Okay. Thank you for the
14   ones that are most consequential.             14   qualification, and I think you've made a
15     Q. Okay. How would you modify the           15   good point. Any question that I'm asking
16   second part so that it would be accurate      16   you about this report would be as of the
17   in representing what you're communicating     17   date of the report.
18   here, or what the significance of it is?      18     A. Okay.
19     A. I would say that it highlights           19     Q. All right. Anything else that
20   the observational evidence that supported     20   you need to tell us about 5.2?
21   my conclusions and opinions.                  21     A. No.
22     Q. Okay.                                    22     Q. Okay. Let's look on to section
23     A That it does not include some of          23   5 3, the "Mine Waste Sampling and
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 1   Characterization" section. Is this the           1   report for purposes of your analysis and
 2   entire extent of the mine waste sampling         2   opinions because you're in agreement with
 3   on which your opinions are based?                3   it.
 4     A. Yes. Up until, as you were                  4      A. Correct.
 5   saying, before the time of writing this          5      Q. Okay. All right. If you'll
 6   report.                                          6   look at Figure 5-1, please.
 7     Q. Okay.                                       7      A. Yes.
 8     A. There is an addendum to the                 8      Q. All right. This is titled "Plan
 9   report.                                          9   View of Geophysical Investigation and E-M
10     Q. Right.                                     10   Survey Results." This looks similar to
11     A. That is a different but similar            11   me to images that we've seen in both the
12   suite of analyses that were run on the          12   Advisian geophysical report and in
13   same samples.                                   13   Brown's report. Is that accurate?
14     Q. Okay. All right. If you'll                 14      A. That's accurate.
15   turn ahead to page 5-5 and look at the          15      Q. Okay. And let's look on to
16   section 5.4, "Groundwater Investigation."       16   Figure 5-2. This is "Results of
17   Is what's set out in section 5.4 on 5-5         17   Land-Based ERT Geophysical Survey." And
18   and 5-6 the entire extent of the                18   again, is this the same images that we
19   groundwater investigation information on        19   see in both the Advisian report and
20   which your opinions are based as of             20   Anthony Brown's report?
21   October 2017? Whatever the date of your         21      A. Yes.
22   report specifically is.                         22      Q. Okay.
23     A. Yes. I'll bring your attention             23      A. And by images, I mean the images
                                          Page 150                                           Page 152
 1   to this statement that I was also                1   of the actual ERT results.
 2   informed by the Brown report.                    2     Q. Certainly the figures. What I'm
 3     Q. Okay. Certainly. Okay. All                  3   suggesting and I understand you to be
 4   right. Anything else?                            4   agreeing with is that the images in the
 5     A. No.                                         5   figures are the same.
 6     Q. Okay. All right. And now                    6         And the same with Figure 5-3,
 7   section 5.5, which covers part of page           7   would that be true, the results of the
 8   5-6 through page 5-8, we have a section          8   river-based ERT physical survey?
 9   on surface water investigation. And              9     A. That's correct.
10   similar to the prior questions, does this       10     Q. Okay. We've already talked
11   relate the entire extent of the surface         11   about Figure 5-4.
12   water investigation on which your               12         Look for me, if you will, at
13   opinions are based as of the date you           13   page 6.2. This is within your section of
14   wrote this report in October of 2017?           14   6.1 on "Mine Waste Characteristics." And
15     A. Yes. With that same                        15   I'm looking at the top of page 6-2, and
16   qualification regarding the Brown report.       16   I'm specifically looking at the first
17     Q. Brown report, okay. And in both            17   sentence that reads in its beginning,
18   of the instances, in the preceding              18   "These results are consistent with the
19   section on groundwater investigation and        19   assessment of the GOB Pile that was
20   in the section on surface water                 20   completed by ABC." And you have a
21   investigation, as I understand the              21   citation to a document produced by
22   statements where you're referencing the         22   Drummond, it's dated in 1985. Right?
23   Brown report, you were adopting his             23     A Correct
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                                          Page 153                                             Page 155
 1     Q. Do you know whether the results             1      A. Yeah, I think I understand the
 2   are also consistent with the conditions          2   question. I think the answer is yes.
 3   that existed with regard to the GOB pile         3   Putting it in a different way --
 4   at the time of the bond release in 1993?         4      Q. Okay.
 5     A. No. I'm not aware of any                    5      A. -- it's the product of the
 6   testing of the GOB pile that was done in         6   volume of water that's being transmitted.
 7   1993.                                            7      Q. Okay.
 8     Q. Okay. All right. If you'll                  8      A. And the concentration of the
 9   look with me on page 6-3, which is at the        9   contamination in that water.
10   end of your section on "Groundwater             10      Q. Okay.
11   Conditions," 6.2, you make reference to a       11      A. By multiplying those two
12   "mass of contamination released to the          12   together, you would determine the mass of
13   Locust Fork" in the last paragraph. Do          13   a contamination.
14   you see that?                                   14      Q. Okay. Good. Thank you. Now,
15     A. I think you might have to direct           15   if you will, walk me through that
16   me there again.                                 16   calculation.
17     Q. Sure.                                      17      A. The "calculation" being Darcy's
18     A. Because I don't see the words.             18   law?
19     Q. Yeah. It's about midpage, the              19      Q. Being the calculation that
20   paragraph immediately preceding --              20   results in the mass of contamination.
21     A. Okay.                                      21      A. So it's a simple calculation.
22     Q. -- 6.3.                                    22      Q. Okay.
23     A. I got you now. "When combined              23      A. I calculated the groundwater
                                          Page 154                                             Page 156
 1   with the contamination data"?                    1   flow rate to be estimated.
 2     Q. Right. "Provides guidance as to             2     Q. Okay.
 3   the mass of contamination released to the        3     A. "Estimate" is probably better
 4   Locust Fork." You see that?                      4   than "calculated."
 5     A. Yes.                                        5     Q. Okay. And that's --
 6     Q. What is the "mass of                        6     A. At 50,000 gallons per day.
 7   contamination" that is released to the           7     Q. I'm sorry. And the flow rate
 8   Locust Fork?                                     8   would be the Q? Flow rate is indicated
 9     A. The "mass of contamination"                 9   by Q?
10   would be the outcome of multiplying the         10     A. Correct.
11   volume of water times the concentration         11     Q. Okay. All right.
12   of contamination in that water.                 12     A. And estimated that to be 50,000
13     Q. Okay.                                      13   gallons per day.
14     A. So that's -- the mass is a unit            14     Q. Okay.
15   of mass measure, grams, milligrams,             15     A. If one were to look at the
16   kilograms, that sort of thing.                  16   concentrations in the previous section of
17     Q. Okay. And is that the result of            17   the report that apply to the groundwater
18   the application of Darcy's Law and the          18   to, say, arsenic, you would multiply that
19   elements that precede the paragraph we're       19   concentration of arsenic times 50,000
20   looking at and the calculation that is          20   gallons per day, and you would be able to
21   reflected in section 6.2 of your report?        21   calculate the number of grams of arsenic
22   That wasn't a very artful question, but         22   that moved to the river.
23   you may understand the question                 23     Q Okay
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                                         Page 157                                             Page 159
 1      A. The point that I'm making here,           1     A. Correct.
 2   though, is not a mathematical exercise.         2     Q. All right. And from that point,
 3   It is a point that these volumes and            3   what is the "observed particle
 4   concentrations in masses are high enough        4   distribution of the mine waste"? What
 5   that in my opinion the restoration plan         5   does that have reference to?
 6   needs to account for the groundwater and        6     A. So when I sampled the mine waste
 7   the contamination in that groundwater.          7   that's been eroded from the GOB pile and
 8      Q. Okay. All right. What evidence            8   deposited where the, you know, Tributary
 9   do you have that the mass of                    9   1, just about where the Tributary 1 flows
10   contamination that you're discussing is        10   into the Locust Fork, where the
11   actually being released to the Locust          11   sedimentation basins used to be, I
12   Fork?                                          12   observed that they're sandy, gravelly,
13      A. Well, there's no other place for         13   grain-sized distribution. Which is going
14   that groundwater to go. It's going to          14   to be permeable. Gravelly, sandy
15   flow with the gradient and with the            15   materials are permeable. And the
16   topography in the same manner the surface      16   estimate of hydraulic conductivity was
17   water does into the Locust Fork.               17   provided by aquilogic.
18      Q. Okay. Let me back up. All                18     Q. Okay. So in this particular
19   right. Let me start at the top of 6.2,         19   introductory clause, the word "observed"
20   and that might have been a better way to       20   means you saw it with your eyes.
21   do it than beginning at the end.               21     A. Correct.
22          All right. You say, "The                22     Q. And you observed that it was
23   results for the groundwater investigation      23   sandy, gravelly material. And it is
                                         Page 158                                             Page 160
 1   indicate that the groundwater" is               1   sandy, gravelly material what constitutes
 2   contaminated underlying the sediment            2   or is the particle distribution?
 3   basins and that that's evidenced by low         3     A. Yes.
 4   pH -- right? -- TDS that's elevated, and        4     Q. Okay. All right.
 5   elevated metals; correct?                       5         All right. The hydraulic
 6     A. Correct.                                   6   conductivity is estimated to be about 500
 7     Q. Okay. Then based on the                    7   gallons per day per square foot. How did
 8   geophysical surveys, which is the ERT           8   you figure that?
 9   information that you had available in           9     A. That was obtained from aquilogic
10   October of 2017, you concluded that "most      10   because they did the hydrogeological
11   of the contaminated groundwater is             11   assessment in detail.
12   flowing through the eroded mine waste          12     Q. Okay. All right. The hydraulic
13   that settled in the sedimentation              13   gradient is expected to mirror the ground
14   basins." Right?                                14   surface, and it averages approximately
15     A. Correct.                                  15   3.3 percent over the area of the filled
16     Q. All right. Then you set out how           16   lower sedimentation basin.
17   to estimate the volume of groundwater          17         Where did that information come
18   through the zone by application of             18   from?
19   Darcy's Law, and you break that down to        19     A. Topographic maps of the area.
20   its elements, flow rate, hydraulic,            20     Q. Okay. Is that a number that you
21   conductivity, the groundwater gradient,        21   figured or calculated or measured?
22   and then A being the cross-sectional area      22     A. "Figured" is probably the --
23   of the settled mine waste; right?              23     Q Figured? All right How would
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 1   you figure that hydraulic gradient from          1   ERT and you know what length of cable you
 2   topographic maps?                                2   put down or something of that sort?
 3      A. It's basically comparing the               3     A. No. It would be something -- it
 4   differences in elevation and distance            4   would be a distance that I would select
 5   between the two points along that flow           5   on the map.
 6   path.                                            6     Q. Okay.
 7      Q. Okay.                                      7     A. If you've selected one hundred
 8      A. And with the basic assumption              8   feet, for example, it makes the math
 9   that the groundwater surface was                 9   easier because you're dividing by a
10   consistent with the ground surface, which       10   hundred instead of some other number.
11   I think over a long distance in that area       11     Q. Right.
12   is a reasonable assumption.                     12     A. And then comparing the
13      Q. Okay. And recognize you're                13   elevations of those two points on either
14   talking to a layman and trying to               14   extreme. And if, for example, the
15   understand your area of experience.             15   segment was a hundred feet in length,
16         In making that calculation from           16   then the difference in elevation would be
17   a topographic map, and I understand the         17   3.3 feet.
18   assumption you've articulated, would this       18     Q. Okay.
19   be done by looking at the topo from the         19     A. To have a 3.3 percent gradient.
20   point at which you wanted to be the high        20     Q. Sure. And on the topo,
21   point of your gradient, and it would have       21   obviously, you're not measure often
22   a representation that that was a certain        22   actual hundred feet, you're using the
23   number of feet; right? Based on the             23   scale of the map itself; right?
                                          Page 162                                             Page 164
 1   topo. All right. And then you would go           1     A. Correct.
 2   to another area, whatever you discern the        2     Q. To represent the hundred feet.
 3   point to be, and you would read the topo         3   So if one inch equalled a hundred feet,
 4   there, and it would be a low point.              4   you're using one inch?
 5   Right?                                           5     A. Correct. You're using the scale
 6     A. Correct. And in this case, the              6   of the map --
 7   length, the segment that I considered,           7     Q. Right.
 8   was coincident with the place where we           8     A. -- that you're working from, for
 9   had the ERT cross section from which I           9   sure.
10   get the area.                                   10     Q. Okay. All right. Then the area
11     Q. Okay.                                      11   of impact, as you said, is interpreted
12     A. So we're looking at the gradient           12   from the ERT survey line.
13   at the same place that we have that             13     A. Correct.
14   estimate of the area.                           14     Q. And you come up with an
15     Q. Okay. And in terms of the                  15   estimated figure there, which in this
16   distance between the points, and I              16   instance you have 3,600 cubic feet, 300
17   recognize you may have answered the             17   feet wide by 10 feet deep?
18   question, but would it also be possible         18     A. Square feet. Correct.
19   to -- would you measure based on the            19     Q. Square feet, I'm sorry. Thank
20   scale of the map the distance between the       20   you. And I take it that you took the
21   two points and come up with the number?         21   groundwater flow rate of 50,000 gallons a
22   Or is the distance between the two points       22   day from Brown's report at page 45.
23   already a known quantity because of the         23     A Yes Hydraulic conductivity,
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 1   not a groundwater flow rate. I think              1   site are having any effect as far as
 2   you're pointing to 500 gallons per day            2   reducing erosion?
 3   per square foot?                                  3     A. In my view, if they're having an
 4     Q. Actually, I'm looking at the                 4   effect, it's relatively minor.
 5   last sentence of the first paragraph.             5     Q. Okay. And how do you come to
 6     A. Oh, I'm sorry, I misunderstood.              6   that conclusion?
 7     Q. Yeah, 50,000. Do you see that                7     A. Well, I come to the conclusion
 8   last sentence, "The corresponding                 8   by observing that wherever there are pine
 9   groundwater flow"?                                9   trees and erosion in the same place, the
10     A. Yes.                                        10   pine trees don't appear to be retarding
11     Q. Okay.                                       11   that erosion at all. So, I think there's
12     A. So that's the product of that               12   a number of photos in the report shows,
13   mathematical exercise we just went               13   for example, pine trees hanging over the
14   through.                                         14   edge of an escarpment very close to the
15     Q. Okay.                                       15   point where they'll tumble down into the
16     A. So that number is the result of             16   escarpment. The edge of that escarpment
17   that mathematical exercise.                      17   hasn't been influenced by the presence of
18     Q. Okay. And the mass -- is the                18   that pine tree at all.
19   mass of contamination, is that a daily           19         There's other images of the
20   release, according to your analysis here?        20   eroded gullies throughout the uncapped
21     A. If you were to use the daily                21   GOB area, where the nature of that eroded
22   flow rate, you would calculate a daily           22   gully isn't affected at all adjacent to
23   mass.                                            23   the pine trees and pine trees have fallen
                                           Page 166                                             Page 168
 1     Q. Okay. All right. And as I                    1   into the gully as the gully has grown in
 2   understand it, section 6.3 walks through          2   size and eroded the sides.
 3   a similar but not identical analysis              3         Also, in the area that is not
 4   pertaining to surface water as compared           4   capped, there's no ground cover, grasses,
 5   to the one we just looked at for                  5   shrubs, shallow-rooted vegetation that is
 6   groundwater.                                      6   otherwise impeding erosion. So if we
 7     A. A similar analysis. The                      7   were to look at guidance provided by,
 8   difference with the surface water is that         8   say, the U.S. EPA on landfills and caps
 9   one needs to make an assumption about             9   for coal ash and things like that, they
10   what proportion of the rainfall seeps            10   look for that shallow-rooted surface
11   into the ground and what proportion              11   vegetation because it is resistance to
12   evaporates, what proportion gets absorbed        12   erosion, and specifically exclude things
13   by plants. All I did is use the                  13   like trees because they permeate the cap
14   published factor for that.                       14   and they're not particularly useful at
15         And then the other difference is           15   preventing erosion on their own.
16   that with the surface water flow                 16         So those are the factors that
17   estimations, I did look at storms and            17   led me to conclude that the pine trees
18   single events as well. Whereas with              18   aren't having a significant effect. And
19   groundwater, the flow was more                   19   because their needles are acidic, it's
20   consistent, so you look at average flows.        20   one of their natural attributes, that
21     Q. Okay. If you will, I'm looking              21   acid only compounds the problem of the
22   now at 6.5, your "Assessment" section.           22   surface of the GOB pile in terms of other
23   Do you not think that the pine trees on          23   vegetation becoming established
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                                         Page 169                                            Page 171
 1     Q. Okay. Do you know whether the              1     A. The rebuttal differs from the
 2   areas that you are describing and what          2   first report only in the sense that I
 3   you just said are predominantly or              3   elaborated more on the manage in place.
 4   exclusively in what's known as the              4     Q. Right.
 5   pre-law area?                                   5     A. I compared those two options in
 6     A. They're primarily in the pre-law           6   my report, in my assessment that
 7   area.                                           7   supported my report. When I did so, I
 8     Q. Okay.                                      8   concluded that the amount of work
 9     A. But not exclusively. So the                9   associated with managing the materials in
10   places where I was able to observe a           10   place, restoring the GOB pile in place,
11   similar situation in the post-law area or      11   grading and capping and doing all of the
12   where the GOB pile was originally capped       12   things that I talk about in terms of
13   was limited to where the drainage courses      13   mitigating the contamination involved
14   had actually eroded through the cap.           14   approximately the same level of work and
15     Q. Okay. All right. In other                 15   therefore approximately the same cost,
16   areas of the site, do you recognize that       16   one could reasonably conclude, as
17   the tree cover, whether it was pine or         17   removing the materials. The material
18   other species, and the undergrowth,            18   volumes are very, very similar.
19   whether it's simply pine needles or other      19         The fundamental difference
20   brush, is having an effect that limits or      20   between those two options, then, is, how
21   precludes erosion?                             21   well can we expect them to work and what
22     A. In the -- in the area that                22   is the time frame associated with those
23   wasn't capped, I didn't see a robust           23   options. And so the reason why I
                                         Page 170                                            Page 172
 1   enough level of ground -- ground                1   recommended removal as the best option
 2   vegetation that would have a significant        2   and the preferred option, whatever type
 3   effect on reducing erosion.                     3   of wording you choose to use, is because
 4     Q. Okay. All right. If you will,              4   of its permits and the level of effort
 5   let's look at your section 7. And that          5   associated with that is not that much
 6   is titled "Restoration Options." Is it          6   higher than managing the materials in
 7   not the case that you are really only           7   place. Because to manage the materials
 8   presenting one option?                          8   in place, we need to do a number of
 9     A. It is not the case.                        9   things that were not included, say, in
10     Q. Okay.                                     10   the capping of the post-law area, as it's
11     A. That I am only presenting one             11   referred to. So there are significant
12   option.                                        12   quantities of mine waste that are on the
13     Q. Okay. Will you explain to me              13   east side of the ridge that forms the
14   how you are presenting more than one           14   west bank of the Locust Fork. It's very
15   option and what those options are? And I       15   steep. In my view, there's no practical
16   recognize we've touched on this before,        16   way that we could manage those materials
17   but I want to make sure I understand it        17   in place, they will continue to ravel
18   in the context of this part of your            18   down the slope and erode down into the
19   report.                                        19   river. So we need to pull all those
20     A. So there are two options that             20   materials back into the place that we
21   are described in my first report and in        21   were ultimately going to restore the
22   the subsequent rebuttal.                       22   materials if we did it in place.
23     Q Okay                                       23         We know the mine waste is very
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 1   erosive, so we need to remove that               1   or Culbertson; right?
 2   material out of Tributary 1 if we're             2      A. Well, I would hope I didn't get
 3   going to be able to prevent the mine             3   it wrong both times.
 4   waste from eroding and being transported         4      Q. And I'm not suggesting that you
 5   down the Locust Fork in the future.              5   did.
 6         So once you do those two tasks,            6      A. Well, it's clearly once.
 7   as well as regrading the slope so that it        7      Q. On page 4.4 it appears as -- I
 8   has -- just like they did back in the day        8   think I've got that page right --
 9   for the post-law area, you're managing           9   Culbertson and Cuthbertson. I just want
10   and handling a volume of material that's        10   to make sure we've got the name.
11   approximately the same. Now you have to         11      A. I'll have to look that name up
12   bring in clay and you have to bring in          12   and get you the correct one.
13   topsoil because you don't have those two        13      Q. But it would be --
14   things inside the GOB pile, which adds to       14      A. One or the other one, I would
15   the volumes again. And through that             15   presume.
16   whole process, we need to control the           16      Q. Okay. In any event, it's an
17   surface water, have sedimentation ponds,        17   Alabama Geological Survey bulletin that
18   intercept the groundwater, treat the            18   you've designated; right? So it would be
19   groundwater, because it will not be             19   essentially publicly funded.
20   affected by the surface work.                   20      A. Correct.
21         Once we add all of those things           21      Q. Okay. Now, the immediately
22   up, the overall projects, alternatives          22   following reference, Johnson and Halberg,
23   end up looking very much the same in            23   "Acid Mine Drainage Remediation Options,
                                          Page 174                                           Page 176
 1   terms of the level of work. The                  1   A Review," is cited to the University of
 2   fundamental difference is that                   2   Wales School of Business. Is that a
 3   restoration by removal is -- happens more        3   document that's available on the
 4   rapidly and it's permanent and you don't         4   Internet?
 5   have an obligation to manage, monitor,           5      A. I believe it is. I can provide
 6   and maintain into the future.                    6   it through Barry.
 7     Q. Okay. Let me get you to look at             7      Q. Okay. Thank you. I would
 8   Section 8 on the references.                     8   appreciate it. Then if you'll look down
 9     A. I'm on Section 8.                           9   at reference to William A. Price, 1997,
10     Q. Okay. The third reference is to            10   "Reclamation Section, Energy and Minerals
11   the ADEM Solid Waste Program. Is that           11   Ministry of Employment and Investment,"
12   reference to the regulations?                   12   is that accessible on the Internet?
13     A. Correct.                                   13      A. Yes, it is. And I can also
14     Q. Okay. All right. The next                  14   provide it through.
15   reference I want to ask you about is            15      Q. Okay. All right. I'm looking
16   Cuthbertson, William C., 1964. Is               16   now in section 9. The P. Eng.
17   Cuthbertson the correct name, or is             17   designation that accompanies your
18   Culbertson? It appears both ways in your        18   signature, is that for professional
19   report on one occasion. And I just want         19   engineer?
20   to make sure I have it correct.                 20      A. Yes, it is.
21     A. I'd have to take that as an                21      Q. Okay. Are you registered in
22   undertaking.                                    22   Canada?
23     Q Okay It's either Cuthbertson                23      A Yes In Alberta and in British
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 1   Columbia.                                         1   an annual basis the number of hours we
 2     Q. Okay. Are you registered in the              2   spend doing things outside of the daily
 3   United States?                                    3   ritual that would advance or maintain our
 4     A. No, I'm not.                                 4   technical credibility and knowledge and
 5     Q. Okay.                                        5   current understanding of the current
 6     A. As a point of clarification, one             6   state of practice.
 7   of the obligations I have as being a              7      Q. Okay. And most professionals in
 8   member of APEGA, which is the Alberta             8   the U.S., including lawyers and doctors
 9   branch, is whenever I write a report              9   and engineers and, as I understand it,
10   that's destined to be received outside           10   geologists and numerous others, have to
11   Alberta, I am still required to do -- to         11   get, whether it's called continuing
12   make that designation.                           12   education or professional education
13     Q. I understand. And I think                   13   units. There are certain organizations
14   that's true of most professional                 14   that obtain ratification to provide these
15   engineers in the U.S. Do you know if             15   credits and charge money and put on
16   there is -- let me start my question             16   programs. Is there something similar
17   over.                                            17   like that in Canada that you're required
18         To your understanding, is the              18   to attend, or is there some other
19   Canadian professional designation and            19   mechanism by which you maintain your
20   what is required to attain that similar          20   currency of your practice?
21   to what is required to get the P.E.              21      A. The currency from the
22   designation in the United States? Or do          22   perspective of maintaining your practice
23   you know? You may not have compared.             23   is one of self-reporting.
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 1      A. I understand it to be similar in            1     Q. Okay.
 2   most jurisdictions in Canada and the              2     A. Of time and effort doing the
 3   United States, and they all have their            3   things that I mentioned before.
 4   different little spins on the same ball           4     Q. Okay.
 5   --                                                5     A. And at the organization level --
 6      Q. Okay.                                       6   so that's at the personal level. And at
 7      A. -- but they're all very similar.            7   the organization level, there is annual
 8      Q. All right. Are you required to              8   check and balance referred to as a
 9   maintain continuing education for your            9   professional practices management plan
10   designation?                                     10   that Burgess keeps current and updates
11      A. Yes.                                       11   and submits as requested.
12      Q. Okay. And what is the                      12     Q. Okay.
13   continuing education requirement that            13     A. Those are the two fundamental
14   you're required to meet?                         14   pillars.
15      A. The continuing education -- for            15     Q. So, do you have organizations
16   clarification, I don't think they call it        16   that charge you enormous amounts of money
17   that.                                            17   to educate you so you can maintain your
18      Q. Okay.                                      18   license, as we do?
19      A. But I think they call it                   19     A. No. No.
20   professional development.                        20     Q. You're quite lucky.
21      Q. All right.                                 21         All right. Let me get you to
22      A. Or something, words to that                22   look at the next exhibit, which I believe
23   effect But we need to log and report on          23   is Exhibit 4 Okay If you'll take a
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 1   minute to look at Exhibit 4 and satisfy          1   would say.
 2   yourself that it's a complete copy of the        2     Q. Okay.
 3   document and then please tell us what it         3     A. That the samples in question
 4   is.                                              4   were acid-generating. So they were --
 5   (Defendant's Exhibit 4 was marked for            5   they were susceptible to acid rock
 6   identification and is attached.)                 6   drainage. That wasn't a new conclusion.
 7        (Witness reviews document.)                 7   That was a conclusion that was arrived at
 8      A. So it appears to be complete.              8   with the previous samples.
 9      Q. Okay.                                      9         That the oxidation of the pyrite
10      A. We did a number of analyses on            10   and sulfide materials in the samples that
11   the mine waste samples that we collected        11   is the root cause of the acid-generating
12   on that August 2017 program. And we had         12   had primarily been completed. So that
13   those samples analyzed here in Alabama.         13   process had essentially completed itself.
14   What those labs weren't able to do for us       14   Not entirely, but more than 90 percent.
15   was called acid base accounting. Now,           15   And that the neutralizing capacity of the
16   it's fair to say that the analyses that         16   waste rock had been entirely consumed.
17   they did in Alabama that are included in        17     Q. Okay.
18   the report we just talked about got I           18     A. So what that means is the
19   would say 95 percent of the way there, a        19   alkaline materials had -- that were
20   great deal of the way there in terms of         20   present had been consumed by the acid and
21   quantifying the acid-generating                 21   that the only thing that remained is the
22   substances, the acidity, and the alkaline       22   acidity.
23   substances in the samples. But the              23     Q. All right. This reference on
                                          Page 182                                           Page 184
 1   testing method that was used didn't              1   page 3, Lawrence and Marchant, "Acid Rock
 2   compare apples to apples, so to speak, in        2   Drainage Prediction Manual," is that
 3   terms of the alkaline substances and the         3   available on the Internet?
 4   acid-generating substances.                      4     A. Yes, it is. And I believe it's
 5      Q. Okay.                                      5   somewhat of an extension to that document
 6      A. So I decided to take subsamples            6   you were talking about by Price.
 7   of these samples and get the labs to send        7     Q. Okay.
 8   them to a lab that I was familiar with           8     A. Not the same document, but
 9   that did just that, acid-base accounting         9   they're meant to be looked at together.
10   it's called. And essentially, it looks          10   And again, I can provide that through
11   at all of the acid generating substances,       11   Barry if you wish.
12   all of the acidity, and all of the              12     Q. Okay. We would appreciate it.
13   alkaline substances in the sample, looks        13   Figure 1 on your memorandum, the "Mine
14   at them in the same way, totals them, and       14   Waste Sample Locations," do those
15   then quantifies how neutralizing or             15   correspond to the mine waste sample
16   acid-generating a certain substance is.         16   locations that we saw in your original
17      Q. Okay. And what is the lab that            17   report?
18   you had those sent to?                          18     A. Yes, they should.
19      A. Maxxam.                                   19     Q. Okay.
20      Q. Okay. And what did you discern            20        MR. DAVIS: Okay. Want to take
21   from this acid-base accounting that you         21   a short break?
22   got?                                            22        MR. BROCK: All right.
23      A Three fundamental conclusions, I           23            (Break taken )
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                                         Page 185                                           Page 187
 1     Q. (By Mr. Davis) Okay. In your               1     Q. What is your understanding of
 2   initial report, Mr. Johnson, one of the         2   what an MCL is?
 3   things that was identified as a                 3     A. In the context of -- in the
 4   contaminant was arsenic; right?                 4   context of drinking water, it would be
 5     A. Correct.                                   5   the threshold above which water would be
 6     Q. Okay. And some background                  6   considered inappropriate for drinking,
 7   concentrations were sampled at a site           7   sometimes for aesthetic reasons,
 8   sixteen miles away. Do you consider that        8   sometimes for health reasons.
 9   to be a reasonable background sample for        9     Q. Okay. And that's an end-of-tap
10   soil conditions at the Maxine Mine site?       10   treated water standard; right?
11     A. I'd say that the -- for example,          11     A. Well, it would be a drinking
12   you've raised arsenic. That background         12   water standard.
13   concentration, which I believe is in the       13     Q. It's not a standard that applies
14   neighborhood of three milligrams per           14   in stream, is it?
15   kilogram, that would be consistent with        15     A. It's a drinking water standard.
16   what I would have seen in my career with       16   Whether it's applicable to water in a
17   background soils. And it's also                17   certain situation, it may or may not.
18   consistent with the concentration of           18     Q. Are MCLs applicable to judging
19   arsenic in the sediment sample upstream        19   the quality of the water in the Locust
20   that was collected by Dimova. So it's          20   Fork?
21   consistent with my experience in               21     A. So as I said in my report, the
22   background samples.                            22   application of the rules from the
23         So sixteen miles, I'll grant             23   perspective of determining acceptable
                                         Page 186                                           Page 188
 1   you, is a significant difference, and           1   concentrations or not was done by
 2   there could be differences at Maxine.           2   aquilogic. I didn't do that work.
 3        The concentrations of arsenic              3     Q. You don't have an opinion on
 4   that we measured in our mine waste              4   whether they're appropriate or not?
 5   samples are, you know, anywhere from one        5     A. It would appear to me that
 6   to two orders of magnitude higher than          6   aquilogic did its job properly, but I
 7   those numbers, and they're much higher          7   didn't repeat it. And I didn't do my own
 8   than I would expect background samples to       8   assessment. I was looking at it from the
 9   be at Maxine, and they're much higher           9   perspective of restoration of the pile
10   than were reported in that background          10   and the, you know, pollution that I was
11   sample. They're much higher than were          11   meaning to mitigate through that
12   reported in the background sample in the       12   restoration plan.
13   river, and in my opinion, would be higher      13         So what exists in the Locust
14   than in naturally occurring soils in the       14   Fork is not really relevant to the
15   Maxine area.                                   15   strategy for restoration. You're trying
16     Q. Okay. Are you familiar with               16   to stop the contamination at the source.
17   maximum contaminant levels, or MCLs?           17     Q. Okay. Do you understand maximum
18     A. Yes.                                      18   contaminant levels to be applicable only
19     Q. Okay. And I'm speaking                    19   at the tap for customers of a publicly
20   specifically of the EPA standard for           20   owned treatment source?
21   drinking water.                                21     A. I don't know.
22     A. Yes. I'm familiar with drinking           22     Q. Okay.
23   water standards                                23     A How that is applied in this
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 1   location.                                            8
 2     Q. Okay.
 3     A. I would elaborate on that answer            1   consumed.
 4   and say that in my experience in many            2     Q. So you haven't made any use of
 5   other jurisdictions, drinking water              3   the acid-base accounting other than
 6   standards are applied in situations where        4   what's reflected in the memo? In terms
 7                                                    5   of conclusions you've drawn from it, you
     the water isn't specifically being
 8                                                    6   have stated those in the memo?
     consumed.
                                                      7     A. Yes.
 9     Q. Much like your analysis of the              8     Q. Okay. Okay. I'm going to mark
10   acid-base accounting, would you not agree        9   as Exhibit 5 your rebuttal report. First
11   that in making valid scientific                 10   question is, will you look at Exhibit 5,
12   comparisons, one should, figuratively           11   determine whether it appears to be
13   speaking, be comparing apples to apples         12   complete, and then identify the document
14   and oranges to oranges?                         13   for the record, please.
15                                                   14   (Defendant's Exhibit 5 was marked for
       A. I think I have to agree with
16                                                   15   identification and is attached.)
     that.
17                                                   16     A. So the document is my rebuttal
       Q. That's kind of the point. That
                                                     17   to comments made on my original report by
18   was kind of the point. Got to start on          18   I believe three different parties.
19   some common ground to be able to move           19     Q. Okay.
20   anywhere.                                       20     A. And just flipping through.
21         Okay. Do you see -- well, I'll            21       (Witness reviews document.)
22   leave that alone. I think you've                22     A. I believe it's complete. I'm
23   answered it.                                    23   wondering if this belongs in there.
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 1         With regard to your memorandum                 8
 2   that we have marked Exhibit 4, does that
 3   provide evidence, in your view, that the         1         MR. BROCK: Let's see.
 4   Maxine Mine site is causing any water            2         MR. DAVIS: If it doesn't, we
 5   quality violation in the Locust Fork?            3   need to pull it out, and I'm not sure how
 6     A. This addendum, this memo, if I              4   it got there.
 7                                                    5         MR. BROCK: Go off the record
     get your question --
 8                                                    6   for a second?
       Q. Yeah.
                                                      7         MR. DAVIS: Sure.
 9     A. -- is solely a report on the                8      (Discussion held off the record.)
10   analysis of the acid-base accounting of          9      Q. (By Mr. Davis) Okay. After that
11   the --                                          10   off-the-record discussion, Mr. Johnson,
12     Q. Okay.                                      11   do we now have a complete and correct
13     A. -- mine waste samples.                     12   copy of your rebuttal report marked as
14     Q. Okay. All right. Did you draw              13   Exhibit 5?
15                                                   14      A. Yes, we do.
     any conclusions from that analysis?
16                                                   15      Q. Okay. Very good. If you'll
       A. The conclusions that I've stated
17                                                   16   look for me on page 2-2, I'm looking at
     before, that the mine waste is
                                                     17   Photo 1. All right. Do you see that?
18   acid-generating.                                18   It's described as "Discharge of Polluted
19     Q. Okay.                                      19   Water Into the Locust Fork."
20     A. The oxidation process is mostly            20      A. Yes.
21   but not completely complete. And that           21      Q. All right. How are we to know
22   the buffering capacity of the alkalinity        22   from this photo that that water is
23   of the samples has been entirely                23   polluted?
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 1     A. It has the characteristics of               1   2-8.
 2   acid mine drainage. It has low pH.               2     A. I'm there.
 3   There were field measurements taken at           3     Q. Okay. I see how you have
 4   the time of the site visit. And what             4   labeled the photographs, obviously. What
 5   you're seeing in that brown color is             5   evidence is there of the amount of daily
 6   metals, when they're in solution, as they        6   erosion that you can see?
 7   are in the groundwater and the surface           7     A. There's not evidence of daily
 8   water, at higher concentrations, once            8   erosion. The erosion occurs primarily
 9   they're exposed to oxygen, they begin to         9   during major runoff events. That would
10   oxidize and come out as solution, forming       10   be my reasonable conclusion.
11   a kind of rusty color, in the case of           11     Q. Okay.
12   iron. So you're seeing that iron                12     A. So that on days when it was
13   oxidation in there, which is an indicator       13   light flows or no flows or no rain, we
14   of the metals contamination in the water.       14   wouldn't expect to see significant
15         That -- that water was sampled,           15   erosion at all, maybe some minor
16   so that's another way that that was             16   ravelling of waste rock down the steep
17   confirmed. But the last way that I can          17   slopes of the gully in the top picture,
18   tell that that water is contaminated is         18   4, and the large ravine, I guess, in
19   that the vegetation in the ecology is           19   Photo 5. Could be minor ravelling of
20   very robust in Alabama wherever there's         20   materials on those sorts of days, but
21   water. For some reason, where there was         21   when you get the heavy rains, then you're
22   this water, there was a complete absence        22   susceptible to getting, I think this is
23   of any vegetation, which means that the         23   when the vast majority of the erosion
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 1   water is having an adverse effect and            1   takes place.
 2   killing any plants that try to grow.             2     Q. Okay. And just so the record is
 3     Q. Okay. When was the photo taken?             3   perfectly clear, have you been on the
 4     A. During the site visit on the                4   site when there was such rain?
 5   first day.                                       5     A. No.
 6     Q. Okay. Do you have a record of a             6     Q. In making your assessment of the
 7   water sample or field reading that was           7   amount of erosion, did you take into
 8   taken at this point?                             8   consideration natural settling or any
 9     A. I'd have to go back through the             9   kind of basic impaction that would have
10   record and my previous document. It             10   resulted from gravity?
11   would be reported by the Brown report and       11     A. From my assessment, the
12   by Barry Sulkin's report.                       12   observational assessment that I was
13     Q. Okay.                                      13   speaking to in the morning's discussions,
14     A. So, do we want to go through the           14   I was looking at the geometry of the
15   process of?                                     15   ravine that you see in Photo 5, the
16     Q. No. I just want to make sure I             16   geometry of the gully that you see one
17   understand where the data that you're           17   bank of in Photo 4, and a number of other
18   relying on in making your assessment is.        18   similar feature throughout the GOB pile.
19     A. So this is just downgradient of            19   So I was looking at the geometry of those
20   the lower dam. That's where that photo          20   spaces that had been eroded, so natural
21   was taken.                                      21   settlement doesn't enter into that.
22     Q. Okay. All right. Let's look at             22     Q. Okay. Given that point and the
23   Photos 4 and 5 And these are on page            23   geometric approach to it, would you agree
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 1   with me that what you are talking about          1      Q. Okay.
 2   is the possibility of erosion as opposed         2      A. You know, you can see trees that
 3   to an analysis of the actuality of               3   are where roots are protruding out
 4   erosion?                                         4   through the bank that's been eroded.
 5      A. I would not agree with that.               5   Roots don't grow like that. They are
 6   The --                                           6   exposed through erosion. So that would
 7      Q. Okay. How do you disagree with             7   have happened in the relatively recent
 8   the statement then?                              8   past. You know, there's full-grown trees
 9      A. What I would call the                      9   that still had leaves on them that have
10   observational approach I think is a sound       10   tumbled to the bottom. You can conclude
11   analytical method when you're looking at        11   that that happened recently. You can't
12   land forms and erosion such as what we          12   pick it down to a day, but it's certainly
13   see at the GOB pile. So there is large          13   very compelling evidence that that
14   eroded gullies where the water clearly          14   erosion continues.
15   flows. There's trees tumbling into those        15      Q. Okay. Would you agree that a
16   gullies, which is clear evidence that           16   photograph is a depiction of whatever
17   that erosion is occurring on an ongoing         17   scene is in the photograph that is
18   basis and has occurred in the near term.        18   specific to the time and place under
19   There is complete accumulation and              19   which it's taken -- that which it's
20   filling of all of the low points along          20   taken?
21   the -- where the basins used to be.             21      A. I would agree with that. And I
22   There is evidence of that same mine waste       22   would also add to that that in this case
23   being transported and deposited on the          23   it's likely worth a thousand words
                                          Page 198                                             Page 200
     8                                                    8

 1   bottom of the river.                             1   because it would be more time-consuming
 2         So, you know, that process of              2   to try to describe what I'd seen than
 3   looking at all of the evidence is as             3   simply depict it in a photo. So I tried
 4   conclusive as it would be if I was there         4   to do both in the report.
 5   that day watching the actual event. I            5     Q. All right. Now, I'm trying to
 6   can look at a volcano and tell you that          6   understand your description of your
 7   it erupted at one point in time. That I          7   visual method. I understand, all other
 8   didn't actually see it erupt doesn't             8   things being equal and no differences in
 9   undermine that conclusion at all, to make        9   surface, that one could logically deduce
10   an analogy.                                     10   that a steep, smooth surface with water
11      Q. I understand. All right. You              11   running down it would move that water --
12   could tell that the volcano erupted, but        12   the water would move at a higher velocity
13   could you necessarily tell by visual            13   than a smooth surface of the same nature
14   observation or analysis such as you've          14   with a less steep incline. Right?
15   described when the volcano erupted,             15     A. Correct.
16   assuming that the lava was not still            16     Q. Okay. What I'm not getting
17   glowing --                                      17   about your method is how it takes into
18      A. Yeah.                                     18   account any variability in conditions
19      Q. -- and moving or something?               19   such as compaction over time and other
20      A. Using far different methods,              20   variable factors in the landscape as it
21   yes, you can. There are dating methods          21   may change. Does the question make sense
22   that are sound. But if you look at Photo        22   to you?
23   No 7                                            23     A I think that it does
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 1      Q. Okay.                                     1   end of the GOB pile."
 2      A. So I tried to answer it before.           2        What evidence is there that what
 3      Q. And I tried to understand it              3   your arrow is pointing to is mine waste
 4   before.                                         4   as opposed to natural geologic
 5      A. So the observational approach,            5   conditions?
 6   looking and taking approximate                  6     A. Well, it has the same appearance
 7   measurements of these eroded features, so       7   as the mine waste in the GOB pile and
 8   let's use, case in point, the gully             8   where it's accumulated in the former
 9   that's in Photo No. 4.                          9   sedimentation ponds. And you could
10      Q. Okay.                                    10   follow visually the path of that material
11      A. That gully is approximately this         11   going up the hill and originating up in
12   long. It's approximately this wide. I          12   the GOB pile in the uplands at the north
13   mean, I'm going from recollection, but I       13   end of the GOB pile. You could see the
14   think you know what I'm getting at             14   trace, or the pathway that this material
15   (indicating). It's got a certain length,       15   had taken tumbling down from the GOB pile
16   it's got a certain width, it's got a           16   down into the Locust Fork.
17   certain depth. It's clear that from            17     Q. Okay. Are you saying that the
18   looking at the banks on either side, that      18   material in Photo 6, which is, according
19   at one point in time the mine waste was        19   to you, mine waste, is the same as the
20   placed to a relatively even elevation in       20   dark material in Photo 7, which is a
21   that area and that water has eroded that       21   photograph of material in the GOB pile?
22   gully.                                         22     A. I'm saying that it originated
23         So whether or not --                     23   from the GOB pile.
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     8                                                   8

 1     Q. Hang on just a second for me.              1     Q. Okay.
 2     (Discussion held off the record.)             2     A. So on balance, it would be
 3     Q. (By Mr. Davis) Okay. Did you               3   similar, if not the same.
 4   finish your answer? I'm not sure that           4     Q. Okay. So in Photo 6, what
 5   you did.                                        5   everyone calls the tepee is sitting on
 6     A. I didn't finish the answer.                6   GOB? See the little wooden tepee there?
 7     Q. Okay.                                      7     A. Yeah, that's right.
 8     A. What I was about to say was that           8     Q. It's sitting on GOB?
 9   the estimate that I would have made             9     A. It's sitting on eroded and
10   observationally on the site that day           10   deposited GOB.
11   wouldn't be affected by subsidence of the      11     Q. Okay. All right. If you will,
12   ground surface. It would simply be a           12   please look at page 2-11. All right. On
13   function of the geometry of that eroded        13   this page, middle of the page, you
14   feature that I observed.                       14   reference a corrected version of Table
15         Now, if one was to do -- you             15   5.3. What needed to be corrected in
16   know, that's a factor that would affect        16   Table 5.3?
17   ultimately the elevation of the ground         17     A. That I had mistakenly identified
18   surface. Subsidence clearly does that.         18   selenium as dissolved selenium in the
19     Q. All right. If you will, look at           19   analytical parameter.
20   Photo 6. All right. Your box said that         20     Q. Okay.
21   -- says that "Eroded mine waste has            21     A. And reported dissolved
22   accumulated on the right bank of the           22   concentrations. Through the reply
23   Locust Fork meander adjacent to the north      23   process, it was identified by one of the
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 1   parties that replied to my report that           1   where the Tributary 1 confluences with
 2   this should be a total concentration.            2   Locust Fork.
 3   That was true. I corrected the heading,          3     Q. Okay. And you've designated
 4   and I corrected the values to reflect            4   this photograph as depicting mine waste.
 5   total values. The outcome did not                5   Where is the mine waste in the picture?
 6   change. In fact, the concentrations are          6     A. You can see the gravelly
 7   higher for total selenium than dissolved         7   material with the evidence of rust color,
 8   selenium, and the locations of the               8   which is that iron oxidizing that's in
 9   exceedances were the same.                       9   solution and oxidizing and precipitating
10     Q. All right. On page 2-13, you               10   out. So I deduced that that's mine waste
11   note another correction with regard to          11   based on the visual observation,
12   Table 6.2. Will you tell us about that.         12   similarity from what I've seen in the GOB
13     A. Correct. I had mistakenly                  13   pile.
14   inverted the value for the 10 percent           14     Q. How do you know that what we're
15   exceedance and the 1 percent exceedance         15   looking at in Photo 8 is not native soil?
16   that were calculated by Amec Foster             16     A. Native soil did not exhibit the
17   Wheeler, I believe, using the model, and        17   same things. The rust precipitate, the
18   I presented the corrected values in the         18   granular, rocky, angular texture of the
19   rebuttal report.                                19   material, and the vegetation stress or
20         So the purpose of including               20   the absence of vegetation where it is.
21   these in my original report was -- the          21   The banks of that river are muddy and
22   purpose was to include the flow                 22   covered with vegetation. Where you have
23   velocities, which are extremely high,           23   significant accumulations of mine waste,
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 1   that whatever we did in the -- for               1   vegetation is absent, it's granular, and
 2   restoration would have to account for            2   it has that rust color.
 3   these flow velocities, flow rates. So            3      Q. Okay. Now, you've previously
 4   there's a 20 percent chance of exceedance        4   defined mine waste as geologic
 5   of 344 cubic feet per second in a given          5   overburden; right?
 6   year. And that's an extremely high flow          6      A. Yes.
 7   rate. And it explains why we're seeing           7      Q. Okay. And that overburden, by
 8   extremely high rates of erosion.                 8   definition, is rock, soil, in some
 9     Q. Okay.                                       9   instances coal, that's dug up from the
10     A. And whatever plan that we might            10   site, a specific piece of property;
11   devise to restore the GOB pile in place         11   right?
12   would need to be able to protect it             12      A. Correct.
13   against those very extreme flows.               13      Q. So what's dug up on the Maxine
14     Q. Okay. Look for me if you will              14   site and appears as GOB, although it
15   at Photo 8.                                     15   didn't come from -- it came from an
16     A. Page?                                      16   underground mine immediately adjacent to
17     Q. 2-16. It's labeled as "Mine                17   the site that we're -- that's involved in
18   Waste from East Ridge in Locust Fork."          18   this case is what underlies the Maxine
19   Can you -- everybody knows where the            19   Mine property, isn't it?
20   tepee is, so that one is easy. Can you          20      A. That geologic strata?
21   tell us what location this is?                  21      Q. Yeah.
22     A. It is approximately halfway                22      A. In a competent form, yes.
23   between where the tepee was -- is and           23      Q If you dig a hole in a given
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 1   piece of ground and you take the dirt,            1   "The text contained herein presents
 2   rock, and whatever's under there out of           2   documentation of the investigations and
 3   it and put it in a pile, that's the               3   assessment of the GOB Pile associated
 4   native rock, isn't it? Unless you                 4   with the former Maxine Mine."
 5   imported something in from somewhere              5         And my question here is simply,
 6   else.                                             6   are there any investigations and
 7      A. Correct.                                    7   assessment that are reflected in your
 8      Q. Okay.                                       8   rebuttal report, meaning underlying data,
 9      A. The difference lies, is once you            9   sampling, new visual observations, that
10   excavate it out of a situation where it's        10   were not also included in your memorandum
11   compact, it's anaerobic, and there's             11   of November 2017 and your original report
12   very, very little water running through          12   of October 2017?
13   it, there's no opportunity for                   13     A. The only difference was that I
14   significant acidification to occur. When         14   had an opportunity in that period to
15   you remove that material, you put it on          15   review the Dimova --
16   the surface, you bring the metals to the         16     Q. Dimova deposition, okay.
17   surface, it initiates that acidification         17     A. And obviously had the benefit of
18   process. So that's the difference from           18   the comments from Amec Foster Wheeler and
19   the environmental perspective.                   19   PELA and CH2M.
20      Q. Okay. Would you agree that                 20     Q. All right. And look at your
21   rivers can erode soil and even rock?             21   "References" section for me. The fourth
22      A. Very gradually, yes.                       22   reference down from the B.C. Ministry of
23      Q. Okay. Would you agree that                 23   Mines, 1998, is that a regulatory
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 1   impoundments of rivers by their very              1   guidance report that's available on the
 2   nature can change the course of rivers?           2   Internet?
 3     A. You're saying a dam?                         3     A. I believe so. Like the other
 4     Q. Dam, spillway, impoundment,                  4   ones, I can provide them to Barry if it's
 5   however you want to call it. Yes.                 5   not.
 6     A. I don't know if it would change              6     Q. Okay. That would be
 7   the course, but it would change the flow          7   appreciated. How about Clements and
 8   velocity.                                         8   Kotalic, 2016. Oh, I see. It says:
 9     Q. Okay. And it could change the                9   "Published online 6 January 2016.
10   shape of the river upstream of the dam,          10   Freshwater Science." Is that a document
11   couldn't it?                                     11   we could pull off the Internet?
12     A. It would change the water depth.            12     A. Yes.
13   The general arrangement of the river             13     Q. Okay. How about, is it Hogsden?
14   would stay the same. The water would be          14   Is that how you pronounce it? Hogsden
15   deeper and impounded over a wider area,          15   and Harding?
16   but its shape would be similar.                  16     A. Again, if we can't, I can
17     Q. Impounded over a wider area,                17   provide that to you.
18   though; right?                                   18     Q. Okay. And then finally, the
19     A. Correct.                                    19   Hopkins document, 2013, Springer Science,
20     Q. Okay. If you'll look on page                20   is that a --
21   5-1 in your "Closure" section, your              21     A. Same.
22   rebuttal report also contains similar            22     Q. Okay.
23   language to your prior report It says,           23         THE WITNESS: Are you keeping
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 1   track of those?                                  1   it. And the quality of water in the
 2     Q. It will be in the transcript.               2   Locust Fork is clearly not relevant to
 3     A. Okay.                                       3   that. But it does provide relevant
 4         MR. DAVIS: Thank you very much.            4   information on the background, the
 5         MR. BROCK: Yeah, I'm trying.               5   natural water quality of the Locust Fork,
 6     Q. Okay. Is it significant to you              6   and, you know, would be evidence that
 7   in any way that, for example, with               7   there's, you know, the volume of water
 8   reference to the sampling sites SW-1 and         8   entering the Locust Fork is very small
 9   SW-15 -- are you familiar with the points        9   relative to the volume of water in it.
10   that I'm talking about?                         10   So those are the two areas that I would
11     A. I'll recheck just to be sure.              11   say are significant.
12     Q. Sure.                                      12      Q. Okay. And given that, do you
13     A. Okay?                                      13   not think that a demonstrable lack of
14       (Witness reviews document.)                 14   impact on the Locust Fork River
15         THE WITNESS: Can they make                15   recommends against a project of the scope
16   these things any smaller?                       16   that you are proposing?
17         MR. BROCK: Do you need a                  17         MR. BROCK: Object to the form.
18   magnifying glass.                               18      A. The answer to your question, in
19         THE WITNESS: One of the things            19   my view, is no. The concentrations of
20   I believe I have is a full-size version         20   the metals are very high in relation to
21   of this.                                        21   what I'm used to seeing in properly
22     Q. Well, how about I just ask you             22   managed waste rock facilities, waste rock
23   this way.                                       23   dumps, if you will, from mines. pH is
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 1         THE WITNESS: I believe it's                1   extremely low. The erosion and the rate
 2   down there; right?                               2   of erosion is larger than I've ever seen
 3         MR. BROCK: Yes.                            3   coming from any of the mines that I've
 4     Q. Are you aware that the sampling             4   worked on. So, you know, that, that
 5   sites upstream and downstream of the             5   evidence, in my opinion, is -- that
 6   Maxine Mine -- and when I say sampling           6   situation, in my opinion, requires action
 7   sites, I mean in the Locust Fork River.          7   to stop the pollution from going to
 8     A. Yes.                                        8   Tributary 1 and the Locust Fork.
 9     Q. Of the Black Warrior River. Are             9     Q. What is the effect if it's not
10   you aware that those sampling sites had         10   stopped?
11   very similar results as to pH, total and        11     A. That it will continue.
12   dissolved metals, and some other                12     Q. I understand that. I get that.
13   parameters?                                     13     A. Well, with the rate of erosion,
14     A. Yes, I am.                                 14   the rate of, you know, heavy metals
15     Q. Okay. Is the fact that there               15   migration into the Tributary 1 and into
16   are such similarities upstream and              16   the places in the Locust Fork where it
17   downstream of the mine site of any              17   discharges are going to continue to be at
18   significance to you?                            18   this level. And I think the rate of
19     A. I don't think that those two               19   erosion will continue until all of the
20   results inform the restoration plan. As         20   mine waste has been eroded into the
21   I've mentioned in my report, the                21   river. I don't think there's anything to
22   restoration plan is focused on trying to        22   stop it. Because the erosion is eating
23   keep the pollution in its place or remove       23   from the toe up to the top, and it will
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 1   continue.                                        1   given year.
 2     Q. Right. And the question I'm                 2      Q. Certainly. And then, I take
 3   asking you is, what if that happens?             3   it -- I'll just ask you. Is it a fair
 4   What is the end result?                          4   assumption, then, that the remainder of
 5     A. The end result would be                     5   your income comes from the other areas of
 6   Tributary 1 would be a mass of mine              6   your work that are reflected on your CV?
 7   waste. The banks of the Locust Fork and          7      A. Correct.
 8   the base of the Locust Fork where the            8      Q. Okay. Does Burgess
 9   water discharges will be covered in mine         9   Environmental have any staff that work in
10   waste.                                          10   addition to you?
11     Q. Okay. What happens to the                  11      A. Not on a full-time basis.
12   Locust Fork? Anything?                          12      Q. Okay.
13     A. Well, those things. Those                  13      A. I do from time to time need to
14   things happen to it.                            14   basically contract out services like
15     Q. Okay. Would you like to take a             15   drafting.
16   short break?                                    16      Q. Okay.
17     A. I'm happy to power through if              17      A. Sometimes a helper of some sort.
18   you're happy to power through.                  18      Q. Okay.
19     Q. Okay. That will be fine.                   19      A. Sometimes clerical assistance.
20        I didn't have a chance to check            20      Q. Okay. And you would contract
21   myself, but I will ask you, does Burgess        21   that out, too?
22   Environmental have a website?                   22      A. Yes.
23     A. Yes.                                       23      Q. Okay. Kind of a lean operation;
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 1     Q. On that website do you advertise            1   right? There's nothing wrong with that.
 2   or promote your services as an expert            2        We've already talked about
 3   witness?                                         3   continuing education.
 4     A. Yes.                                        4        Do you have any litigation
 5     Q. Okay. How do you do that?                   5   experience as either a plaintiff or a
 6     A. I think there's a page of the               6   defendant?
 7   website that provides a brief summary of         7     A. No.
 8   the fact that I do that.                         8     Q. Have you sued or been sued?
 9     Q. Okay.                                       9     A. No.
10     A. And have done that in the past.            10     Q. Congratulations. What did you
11     Q. Okay.                                      11   do in preparation for your testimony here
12     A. And I think it's mixed in with             12   today?
13   my services in the regulatory area.             13     A. I reviewed my reports.
14     Q. Okay. Services provided?                   14     Q. Okay.
15     A. Type of thing, yeah.                       15     A. I reviewed the reports -- the
16     Q. Okay. I don't want a number.               16   rebuttal report and the original report
17   I'm looking for a percentage. How much          17   from Anthony Brown. And I spent the day
18   of your annual income comes from                18   yesterday discussing the project with
19   providing services as an expert witness?        19   SELC.
20     A. In one way, shape, or form,                20     Q. Did you talk the Barry Sulkin
21   probably about 25 percent.                      21   about his testimony?
22     Q. Okay.                                      22     A. No.
23     A It could ebb and flow in any                23     Q How about Anthony Brown?
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 1     A. Very briefly.                               1     A. Any assumptions that -- when you
 2     Q. What did you talk about?                    2   say "underlie," meaning support? Or
 3     A. He was on his way to the                    3   undermine?
 4   airport. We got together for a beer. So          4     Q. Well, I'm assuming --
 5   maybe 20 percent of the discussion was           5     A. I'm just not used to that term
 6   about maybe even yourself.                       6   being used. Sorry.
 7     Q. Okay. Tell me what was said.                7     Q. I am assuming that you would
 8     A. He said you tend to rock in your            8   only have used assumptions that supported
 9   chair.                                           9   your conclusions. And I guess I'm asking
10     Q. Yeah, I do. Admitted.                      10   you, are there assumptions that are
11     A. So the nature of the questions             11   underlying, supporting your opinions that
12   you were asking.                                12   you can identify?
13     Q. Okay. All right. Anything else             13     A. The reasoning and the evidence
14   that you care to share with us?                 14   and the rationale for my opinions are all
15     A. No.                                        15   expressed in my reports. There's not
16     Q. You had your chance. Okay. Did             16   other assumptions that I have of any
17   you talk to -- I take it, since you read        17   consequence.
18   Dr. Dimova's report and deposition, did         18     Q. All right. And if there are any
19   you talk to Dr. Dimova at all?                  19   assumptions, those would be either things
20     A. Not at all.                                20   that could be readily identified or
21     Q. How about Dr. Huryn?                       21   inferred from how you've written your
22     A. Not at all.                                22   report --
23     Q. Okay. Can you tell me if                   23     A. Yeah.
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 1   there's any information or data that             1     Q. -- and what's stated therein?
 2   might change your opinion about what the         2     A. Yeah.
 3   appropriate approach to the Maxine Mine          3     Q. Okay. In preparing your reports
 4   site would be?                                   4   or doing your analysis, do you use any
 5     A. I think it's not data per se.               5   kind of specialized computer software?
 6     Q. Okay.                                       6     A. No.
 7     A. But if a responsible plan for               7     Q. Would you suggest that a risk
 8   managing the materials in place was put          8   assessment at the Maxine Mine property
 9   forward, I think it would be worth               9   would be necessary as a part of
10   considering.                                    10   formulating any ultimate plan?
11     Q. Okay. And in your view, a                  11     A. By that, do you mean
12   responsible plan for management in place        12   toxicological risk assessment?
13   would address all of the issues that you        13     Q. I mean any kind of risk
14   have said in your reports need to be            14   assessment, so I guess I'm putting it out
15   addressed; right?                               15   there for you to address as you would
16     A. Not necessarily in the same                16   deem appropriate.
17   exact way, but in an equally effective          17     A. The reason why I ask is the term
18   way, yes.                                       18   "risk assessment" in the environment
19     Q. Okay. In reaching the                      19   implies a very specific process of going
20   conclusions and opinions you've offered         20   through exposure pathway, toxicity, that
21   to us, can you identify any assumptions         21   sort of thing. Is that specifically what
22   that you have made that underlie your           22   you're talking about a risk assessment?
23   conclusions and opinions?                       23   Or are you talking about risks like a
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 1   normal person would on the street?               1   it would. It would require permissions
 2     Q. That's a fair question. Are you             2   in certain areas, but I don't see it
 3   aware that Alabama requires specific             3   contravening, if that's the nature of the
 4   steps to be taken in a risk assessment in        4   question.
 5   relation to the investigation and                5      Q. Okay. Let me ask it another
 6   remediation of various kinds of sites            6   way. I think you've answered it. Just
 7   that ultimately need remediation?                7   to make sure that we're communicating.
 8     A. I'm aware --                                8         It's an assumption of your plan
 9         MR. BROCK: Object to the form.             9   that there's no legal impediment to it
10         THE WITNESS: Okay.                        10   being implemented; right?
11         MR. BROCK: Go ahead.                      11      A. I'm not aware of any.
12     A. I'm aware of the risk assessment           12      Q. Okay. All right. Have you
13   process.                                        13   reached, based on your review of the
14     Q. Okay.                                      14   various materials that you've looked at,
15     A. And how it dovetails into the              15   any conclusions or opinions that are
16   assessment and remediation of                   16   either -- let me start all over.
17   contaminated sites.                             17         Have we now talked about any
18     Q. Right.                                     18   conclusions or opinions that you've
19     A. You know, does it have                     19   formulated about the Maxine Mine site?
20   application on this site? Should it have        20      A. Have we?
21   application on this site? You know, I           21      Q. Have we talked about all your
22   would turn it around and say, in my view,       22   conclusions and opinions about the Maxine
23   the responsible management, care, and           23   Mine?
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 1   control of the GOB pile is what's                1     A. Certainly the most relevant
 2   required. After that is done, then one           2   ones, yes.
 3   might consider using the principles of           3     Q. Okay. Are there any other
 4   risk assessment to see what the ultimate         4   conclusions or opinions you have reached
 5   effects might be to the surrounding              5   besides the ones that we have talked
 6   environment. But it would be predicated          6   about today or that are otherwise
 7   on the responsible management of the GOB         7   reflected in your two reports and your
 8   pile.                                            8   memorandum?
 9     Q. Okay. Is it an assumption of                9     A. No.
10   your clear-cutting and excavation plan          10     Q. Okay. Do you have any other
11   for the property that there is no               11   data-gathering, analysis, or other work
12   conflict between your plan and any legal        12   planned as of today?
13   requirements of the State of Alabama?           13     A. We don't have any specific
14     A. Sorry, you're going to have to             14   plans. I think there was a discussion as
15   tell me that again.                             15   to whether or not there would be some
16          MR. DAVIS: Can you read that             16   value in collecting additional
17   back? I can probably improve it, but.           17   information.
18         (Requested portion read.)                 18     Q. Okay.
19     Q. Did you understand the question,           19     A. I'll leave that to, you know,
20   or should I try again?                          20   the group to decide whether that has some
21     A. I'll put it this way. I                    21   value or not.
22   wouldn't see the plan contravening any          22     Q. Okay. Nothing has been
23   acts or rules I'm not aware of any that         23   determined as you sit here today; right?
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 1     A. No.
 2     Q. All right. So what we have as
 3   of June 21st, 2018, and in your
 4   deposition here and your reports is
 5   everything Gordon Johnson has to say
 6   about the Maxine Mine property?
 7     A. Yes. In a relatively concise
 8   format, yes.
 9     Q. Okay. All right. Give me a few
10   minutes. I think I may be ready to wrap
11   this up.
12            (Break taken.)
13         MR. DAVIS: I don't have any
14   more questions.
15
16          END OF DEPOSITION
17           (3:40 p.m.)
18
19
20
21
22
23


     8

 1           CERTIFICATE
 2   STATE OF ALABAMA )
 3   COUNTY OF JEFFERSON )
 4         I hereby certify that the above
 5   and foregoing proceeding was taken down
 6   by me by stenographic means, and that the
 7   content herein was produced in transcript
 8   form by computer aid under my
 9   supervision, and that the foregoing
10   represents, to the best of my ability, a
11   true and correct transcript of the
12   proceedings occurring on said date at
13   said time.
14         I further certify that I am
15   neither of counsel nor of kin to the
16   parties to the action; nor am I in
17   anywise interested in the result of said
18   case.
19         /s/ Lane C. Butler
20         LANE C. BUTLER, RPR, CRR, CCR
21         CCR# 418 -- Expires 9/30/18
22         Commissioner, State of Alabama
23         My Commission Expires: 2/11/21
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